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                                                                         Exhibit A

                                                                 Summary of Services


  Date                                                                                                                                               Professional
                Employee          Hours               Category                                       Notes                               Bill rate
incurred                                                                                                                                                 fees
11/1/2020   Murray, Makeda           1.9   Data Gathering & Processing    Local council tracker permissions list, QC script to produce     $475.00        $902.50
                                                                          local council merges/translations
11/1/2020   Murray, Makeda           2.2   Data Gathering & Processing    QC script to produce local council merges/ translations,         $475.00      $1,045.00
                                                                          update permissions list
11/1/2020   Murray, Makeda           1.7   Data Gathering & Processing    QC local council merges/translation table, code set up to        $475.00        $807.50
                                                                          produce local council output
11/1/2020   Murray, Makeda           2.6   Data Gathering & Processing    Review code producing output for local council                   $475.00      $1,235.00
                                                                          distribution
11/1/2020   Murray, Makeda           2.1   Data Gathering & Processing    Update local council permissions list                            $475.00        $997.50
11/1/2020   Scarpignato, Curtis      1.2   Claim File Review              Spreadsheet cleanup                                              $195.00        $234.00
11/2/2020   Ameri, Armin             2.8   Data Gathering & Processing    Updating translation table with additional council               $370.00      $1,036.00
                                                                          information
11/2/2020   Ameri, Armin             2.6   Data Gathering & Processing    Continued work updating local council translations               $370.00        $962.00
11/2/2020   Ameri, Armin             2.7   Data Gathering & Processing    Applying local council translations to data processing           $370.00        $999.00
11/2/2020   Ameri, Armin             1.5   Data Gathering & Processing    QCing POC processing and LC translations                         $370.00        $555.00
11/2/2020   Evans, Andrew            0.5   Data Gathering & Processing    Review of LC data processing and segregation and input re        $725.00        $362.50
                                                                          next steps
11/2/2020   Evans, Andrew            0.2   Communication with             Call with Andolina                                               $725.00        $145.00
                                           Counsel
11/2/2020   Evans, Andrew            0.5   Analysis                       Updates to POC and LC data analysis; work on new                 $725.00        $362.50
                                                                          interim metrics
11/2/2020   Evans, Andrew            1.1   Analysis                       Call with Boelter; Azer; Andolina; Murray                        $725.00        $797.50
11/2/2020   Farrell, Emma            1.5   Claim File Review              Claim file review, Excel file 7- contd.                          $345.00        $517.50
11/2/2020   Farrell, Emma            2.0   Claim File Review              Claim file review, Excel file 7                                  $345.00        $690.00
11/2/2020   Farrell, Emma            0.3   Data Gathering & Processing    QC POC extract workbook creation script                          $345.00        $103.50
11/2/2020   Farrell, Emma            0.6   Claim File Review              Claim file review, Files 2 & 7                                   $345.00        $207.00
11/2/2020   Farrell, Emma            2.2   Claim File Review              POC file review, workbook 12                                     $345.00        $759.00
11/2/2020   French, Eli              2.0   Claim File Review              Review Excel file 11                                             $195.00        $390.00
11/2/2020   Gelfand, Mike            3.0   Claim File Review              POC review                                                       $195.00        $585.00
11/2/2020   Johnson, Samantha        1.8   Claim File Review              Training additional staff for review of POC data                 $475.00        $855.00
11/2/2020   Johnson, Samantha        0.8   Claim File Review              Review of POC data extracts                                      $475.00        $380.00
11/2/2020   Johnson, Samantha        1.6   Claim File Review              QC of completed POC spreadsheets                                 $475.00        $760.00
11/2/2020   Jones, Alyssa            3.0   Claim File Review              Reviewing POC Extract Data                                       $195.00        $585.00
11/2/2020   Jones, Alyssa            2.5   Claim File Review              Continued review of POC data                                     $195.00        $487.50
11/2/2020   Jones, Alyssa            1.8   Claim File Review              Coding of POC Extract Data                                       $195.00        $351.00
11/2/2020   Jones, Alyssa            2.5   Claim File Review              Continuing POC data review                                       $195.00        $487.50
11/2/2020   Linden, Annika           1.5   Claim File Review              POC onboarding Meeting                                           $195.00        $292.50
11/2/2020   Linden, Annika           3.0   Claim File Review              Started reviewing POC 9                                          $195.00        $585.00
11/2/2020   Linden, Annika           3.8   Claim File Review              Review POC 9                                                     $195.00        $741.00
11/2/2020   Martinez, Kelly          1.6   Data Gathering & Processing    Prepare permissions list of Local Council claims access          $195.00        $312.00
                                                                          continued
11/2/2020   Martinez, Kelly          1.2   Data Gathering & Processing    Local council permissions list updates                           $195.00        $234.00
11/2/2020   Martinez, Kelly          1.1   Data Gathering & Processing    Update LC permissions list                                       $195.00        $214.50
11/2/2020   Martinez, Kelly          1.8   Data Gathering & Processing    Prepare permissions list of Local Council claims access          $195.00        $351.00
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  Date                                                                                                                                            Professional
                Employee          Hours               Category                                      Notes                             Bill rate
incurred                                                                                                                                              fees
11/2/2020   Martinez, Kelly          2.1   Data Gathering & Processing   Update local council permissions list                          $195.00        $409.50
11/2/2020   Murray, Makeda           1.2   Data Gathering & Processing   Follow-up on local council work stream, download POC           $475.00        $570.00
                                                                         data
11/2/2020   Murray, Makeda           0.6   Data Gathering & Processing   Review status of local council work stream, process            $475.00        $285.00
                                                                         updates
11/2/2020   Murray, Makeda           0.7   Data Gathering & Processing   POC data processing                                            $475.00        $332.50
11/2/2020   Murray, Makeda           1.0   Data Gathering & Processing   Review process updates, email to counsel re: local council     $475.00        $475.00
                                                                         work stream
11/2/2020   Murray, Makeda           2.8   Data Gathering & Processing   QC POC data processing, generate code for weekly               $475.00      $1,330.00
                                                                         summary stats Excel
11/2/2020   Murray, Makeda           0.7   Data Gathering & Processing   Email to counsel re: treatment of local council claims,        $475.00        $332.50
                                                                         confidentiality permissions update
11/2/2020   Murray, Makeda           1.1   Analysis                      Call to prep for insurer/mediator call- Attended by            $475.00        $522.50
                                                                         Andolina, Boelter, Azer, and Evans
11/2/2020   Murray, Makeda           0.5   Data Gathering & Processing   Local council permissions list update                          $475.00        $237.50
11/2/2020   Scarpignato, Curtis      1.1   Claim File Review             Spreadsheet review                                             $195.00        $214.50
11/2/2020   Scarpignato, Curtis      1.5   Claim File Review             Spreadsheet review- cont'd                                     $195.00        $292.50
11/2/2020   Scarpignato, Curtis      3.7   Claim File Review             Continue spreadsheet review                                    $195.00        $721.50
11/2/2020   Scarpignato, Curtis      0.7   Claim File Review             Claim file review                                              $195.00        $136.50
11/2/2020   Scarpignato, Curtis      1.0   Claim File Review             Claim file review- continued                                   $195.00        $195.00
11/2/2020   Scarpignato, Curtis      0.9   Claim File Review             POC review                                                     $195.00        $175.50
11/2/2020   Scarpignato, Curtis      0.5   Claim File Review             Cont'd POC review                                              $195.00         $97.50
11/2/2020   Wang, Derrick            2.4   Data Gathering & Processing   Continuing to update processing of POC files for claim         $345.00        $828.00
                                                                         review
11/2/2020   Wang, Derrick            2.9   Data Gathering & Processing   Updating processing of additional POC files for claim          $345.00      $1,000.50
                                                                         review
11/2/2020   Wang, Derrick            1.8   Data Gathering & Processing   Processing and standardizing POC files for claim review        $345.00        $621.00
11/2/2020   Wang, Derrick            1.4   Claim File Review             Reviewing POC files                                            $345.00        $483.00
11/3/2020   Ameri, Armin             2.6   Data Gathering & Processing   Updating local council translations                            $370.00        $962.00
11/3/2020   Ameri, Armin             2.3   Data Gathering & Processing   Continued work updating local council translations             $370.00        $851.00
11/3/2020   Evans, Andrew            0.2   Data Gathering & Processing   Input on LC data sharing                                       $725.00        $145.00
11/3/2020   Evans, Andrew            0.3   Data Gathering & Processing   Quality control review of LC sharing confidential data         $725.00        $217.50
                                                                         sharing platform
11/3/2020   Evans, Andrew            0.2   Analysis                      Updated rough analytics based on more recent POC data          $725.00        $145.00
                                                                         from Omni
11/3/2020   Evans, Andrew            1.4   Data Gathering & Processing   Additional review of latest POC metrics; update to work        $725.00      $1,015.00
                                                                         plan for data standardization
11/3/2020   Evans, Andrew            0.8   Analysis                      Call with Azer; Murray; Martin; Andolina; Boelter; Linder;     $725.00        $580.00
                                                                         Gallagher; Green
11/3/2020   Farrell, Emma            0.4   Claim File Review             POC file review- workbook 12                                   $345.00        $138.00
11/3/2020   Farrell, Emma            2.0   Claim File Review             Review claim file data, Excel file 12                          $345.00        $690.00
11/3/2020   Farrell, Emma            1.2   Claim File Review             Continued review claim file data, Excel file 12                $345.00        $414.00
11/3/2020   Farrell, Emma            1.6   Analysis                      Compile tabulations scripts                                    $345.00        $552.00
11/3/2020   Farrell, Emma            1.6   Analysis                      Generate updated tabulations for most recent POC extract       $345.00        $552.00
11/3/2020   Farrell, Emma            0.4   Analysis                      Determine next steps for generating additional tabulations     $345.00        $138.00
11/3/2020   Farrell, Emma            0.6   Analysis                      Add SOL information and law firm distributions to              $345.00        $207.00
                                                                         tabulations
11/3/2020   Farrell, Emma            1.2   Data Gathering & Processing   Compile cleaning scripts for tabulation fields                 $345.00        $414.00
11/3/2020   French, Eli              2.3   Claim File Review             Review Excel file 10                                           $195.00        $448.50
11/3/2020   French, Eli              3.0   Claim File Review             Excel file 10 review                                           $195.00        $585.00
11/3/2020   French, Eli              2.2   Claim File Review             Excel file 10 review- contd                                    $195.00        $429.00




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  Date                                                                                                                                              Professional
                Employee          Hours               Category                                       Notes                              Bill rate
incurred                                                                                                                                                fees
11/3/2020   Gelfand, Mike            1.5   Claim File Review             Review POC extract                                               $195.00        $292.50
11/3/2020   Gelfand, Mike            2.4   Claim File Review             Continued review of POC extracts                                 $195.00        $468.00
11/3/2020   Gelfand, Mike            1.1   Claim File Review             Claim file review                                                $195.00        $214.50
11/3/2020   Gelfand, Mike            3.5   Claim File Review             Review POC extract file 5                                        $195.00        $682.50
11/3/2020   Gelfand, Mike            1.0   Claim File Review             Review POC extract file 15                                       $195.00        $195.00
11/3/2020   Johnson, Samantha        1.5   Claim File Review             QC of completed POC data coding                                  $475.00        $712.50
11/3/2020   Jones, Alyssa            2.5   Claim File Review             Continued analysis of POC Data                                   $195.00        $487.50
11/3/2020   Jones, Alyssa            2.3   Claim File Review             Formatting POC Data                                              $195.00        $448.50
11/3/2020   Jones, Alyssa            3.0   Claim File Review             Analysis of POC Data                                             $195.00        $585.00
11/3/2020   Jones, Alyssa            1.3   Claim File Review             Reviewing POC extract                                            $195.00        $253.50
11/3/2020   Linden, Annika           3.0   Claim File Review             Review POC 9 File                                                $195.00        $585.00
11/3/2020   Linden, Annika           3.0   Claim File Review             Continue reviewing POC 9 File                                    $195.00        $585.00
11/3/2020   Linden, Annika           3.0   Claim File Review             Reviewing POC 9 File                                             $195.00        $585.00
11/3/2020   Linden, Annika           0.6   Claim File Review             Reviewing POC 9 File- cont'd                                     $195.00        $117.00
11/3/2020   Murray, Makeda           1.8   Data Gathering & Processing   POC data processing review, weekly summary tabulations           $475.00        $855.00
11/3/2020   Murray, Makeda           0.7   Data Gathering & Processing   Testing local council ShareFile site, discuss same with          $475.00        $332.50
                                                                         technical services
11/3/2020   Murray, Makeda           0.3   Data Gathering & Processing   BSA projects update                                              $475.00        $142.50
11/3/2020   Murray, Makeda           1.8   Data Gathering & Processing   QC POC data processing, review summary tabulations               $475.00        $855.00
11/3/2020   Murray, Makeda           0.5   Analysis                      POC summary tabulations review                                   $475.00        $237.50
11/3/2020   Murray, Makeda           0.5   Analysis                      BSA POC summary tabulations- Statute of limitations              $475.00        $237.50
                                                                         update
11/3/2020   Murray, Makeda           0.8   Analysis                      Call with insurance mediator- Azer, Green, Andolina,             $475.00        $380.00
                                                                         Linder, Martin, Gallagher, Evans, and Boelter (joined later)
11/3/2020   Murray, Makeda           1.3   Data Gathering & Processing   Local council work stream updates, emails to counsel re:         $475.00        $617.50
                                                                         same
11/3/2020   Murray, Makeda           0.6   Analysis                      BW summary tabulations                                           $475.00        $285.00
11/3/2020   Murray, Makeda           0.5   Data Gathering & Processing   Omni pdf download                                                $475.00        $237.50
11/3/2020   Scarpignato, Curtis      0.5   Claim File Review             Claim file review- continued                                     $195.00         $97.50
11/3/2020   Scarpignato, Curtis      0.6   Claim File Review             POC review                                                       $195.00        $117.00
11/3/2020   Scarpignato, Curtis      0.7   Claim File Review             Cont'd POC review                                                $195.00        $136.50
11/3/2020   Scarpignato, Curtis      0.3   Claim File Review             POC review                                                       $195.00         $58.50
11/3/2020   Scarpignato, Curtis      1.0   Claim File Review             Spreadsheet review                                               $195.00        $195.00
11/3/2020   Scarpignato, Curtis      1.9   Claim File Review             Spreadsheet review- cont'd                                       $195.00        $370.50
11/3/2020   Scarpignato, Curtis      0.5   Claim File Review             Continue spreadsheet review                                      $195.00         $97.50
11/3/2020   Wang, Derrick            2.9   Claim File Review             Reviewing POC files                                              $345.00      $1,000.50
11/3/2020   Wang, Derrick            2.7   Claim File Review             Continuing to review POC files                                   $345.00        $931.50
11/3/2020   Wang, Derrick            1.8   Claim File Review             Review POC files- Continued                                      $345.00        $621.00
11/4/2020   Ameri, Armin             1.1   Data Gathering & Processing   Reviewing case updates and next steps                            $370.00        $407.00
11/4/2020   Ameri, Armin             2.1   Data Gathering & Processing   QCing and updating local council translation table               $370.00        $777.00
11/4/2020   Evans, Andrew            0.2   Communication with            Call with Andolina                                               $725.00        $145.00
                                           Counsel
11/4/2020   Evans, Andrew            1.0   Analysis                      Call with counsel, mediator, and insurers                        $725.00        $725.00
11/4/2020   Evans, Andrew            0.4   Analysis                      Review of data metrics and updated tabulations                   $725.00        $290.00
11/4/2020   Evans, Andrew            0.3   Data Gathering & Processing   Quality control review of local counsel ShareFile site           $725.00        $217.50




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  Date                                                                                                                                           Professional
                Employee        Hours               Category                                      Notes                              Bill rate
incurred                                                                                                                                             fees
11/4/2020   Evans, Andrew          0.4   Project Management            Updates to data processing work plan and information to         $725.00        $290.00
                                                                       team re same
11/4/2020   Evans, Andrew          0.3   Data Gathering & Processing   Additional planning around confidential data sharing            $725.00        $217.50
                                                                       across parties in mediation
11/4/2020   Farrell, Emma          1.1   Analysis                      QC weekly tabulations scripts                                   $345.00        $379.50
11/4/2020   Farrell, Emma          1.6   Data Gathering & Processing   Process and consolidate law firm names                          $345.00        $552.00
11/4/2020   Farrell, Emma          0.8   Analysis                      Generate tabulations by law firm                                $345.00        $276.00
11/4/2020   Farrell, Emma          1.3   Analysis                      Generate tabulations by law firm and allegation                 $345.00        $448.50
11/4/2020   Farrell, Emma          0.5   Data Gathering & Processing   Review work streams/client requests and determine next          $345.00        $172.50
                                                                       steps for CFR
11/4/2020   Farrell, Emma          0.4   Analysis                      Determine next steps for tabulations/KCIC deliverable           $345.00        $138.00
11/4/2020   Farrell, Emma          0.4   Claim File Review             Workbook 12, pt 4 contd.                                        $345.00        $138.00
11/4/2020   Farrell, Emma          0.6   Analysis                      QC law firm name consolidation                                  $345.00        $207.00
11/4/2020   Farrell, Emma          1.3   Analysis                      Extract additional claim counts; consolidate tabulations        $345.00        $448.50
                                                                       fields list
11/4/2020   Farrell, Emma          1.5   Analysis                      Prepare tabulations workbook for KCIC                           $345.00        $517.50
11/4/2020   French, Eli            2.1   Claim File Review             Review Excel file 10                                            $195.00        $409.50
11/4/2020   French, Eli            3.2   Claim File Review             Review Excel file 17                                            $195.00        $624.00
11/4/2020   French, Eli            2.7   Claim File Review             Continue reviewing Excel file 17                                $195.00        $526.50
11/4/2020   Gelfand, Mike          2.3   Claim File Review             Review spreadsheet 15                                           $195.00        $448.50
11/4/2020   Gelfand, Mike          1.7   Claim File Review             Continue reviewing spreadsheet 15                               $195.00        $331.50
11/4/2020   Gelfand, Mike          4.0   Claim File Review             Continued review of spreadsheet 15                              $195.00        $780.00
11/4/2020   Johnson, Samantha      0.5   Claim File Review             Update on team progress and next steps                          $475.00        $237.50
11/4/2020   Johnson, Samantha      1.8   Claim File Review             QC of completed POC spreadsheets                                $475.00        $855.00
11/4/2020   Johnson, Samantha      1.5   Claim File Review             Coding POC data                                                 $475.00        $712.50
11/4/2020   Jones, Alyssa          2.0   Claim File Review             Formatting extract data                                         $195.00        $390.00
11/4/2020   Jones, Alyssa          3.0   Claim File Review             Reviewing POC Extract data                                      $195.00        $585.00
11/4/2020   Jones, Alyssa          1.5   Claim File Review             Coding POC extract data                                         $195.00        $292.50
11/4/2020   Jones, Alyssa          1.5   Claim File Review             Claim file review                                               $195.00        $292.50
11/4/2020   Linden, Annika         3.0   Claim File Review             Review POC 9                                                    $195.00        $585.00
11/4/2020   Linden, Annika         1.8   Claim File Review             POC file review                                                 $195.00        $351.00
11/4/2020   Linden, Annika         1.8   Claim File Review             Review POC 16                                                   $195.00        $351.00
11/4/2020   Linden, Annika         0.5   Claim File Review             Update on team progress, next steps                             $195.00         $97.50
11/4/2020   Linden, Annika         3.0   Claim File Review             Review POC 16                                                   $195.00        $585.00
11/4/2020   Murray, Makeda         0.3   Data Gathering & Processing   BSA ShareVault download issues                                  $475.00        $142.50
11/4/2020   Murray, Makeda         1.0   Analysis                      BSA call with insurers- Azer, Ruggeri, Whittman, Green,         $475.00        $475.00
                                                                       Gooding, Martin, Smethurst, Kowalski, Criss, Wadley,
                                                                       Martin, Stone, Seligman, Shleypak, Bucheit, Marshall,
                                                                       McNally, Sorem, Hrinewski, Backus, Curtis, Gummow,
                                                                       Meehan, Jordan, Anderson, Gallagher, Andolina, Linder,
                                                                       Evans, et al
11/4/2020   Murray, Makeda         2.9   Data Gathering & Processing   Update local council permissions list, resolving ShareFile      $475.00      $1,377.50
                                                                       issues
11/4/2020   Murray, Makeda         0.5   Data Gathering & Processing   Local council ShareFile demo, review Outstanding issues         $475.00        $237.50
11/4/2020   Murray, Makeda         0.5   Data Gathering & Processing   BSA work stream update                                          $475.00        $237.50
11/4/2020   Murray, Makeda         0.7   Analysis                      Prep BSA data and weekly summary tabulations to KCIC            $475.00        $332.50
11/4/2020   Murray, Makeda         2.4   Data Gathering & Processing   Local council ShareFile logistics, updated permissions list     $475.00      $1,140.00
11/4/2020   Murray, Makeda         2.1   Analysis                      Review BSA weekly summary tabulations                           $475.00        $997.50




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  Date                                                                                                                                            Professional
                Employee          Hours               Category                                       Notes                            Bill rate
incurred                                                                                                                                              fees
11/4/2020   Scarpignato, Curtis      0.5   Claim File Review             Progress update                                                $195.00         $97.50
11/4/2020   Scarpignato, Curtis      1.5   Claim File Review             Claim file review                                              $195.00        $292.50
11/4/2020   Scarpignato, Curtis      1.0   Claim File Review             Claim file review- cont'd                                      $195.00        $195.00
11/4/2020   Scarpignato, Curtis      1.7   Claim File Review             Claim file review- continued                                   $195.00        $331.50
11/4/2020   Scarpignato, Curtis      1.6   Claim File Review             POC review                                                     $195.00        $312.00
11/4/2020   Scarpignato, Curtis      2.0   Claim File Review             Cont'd POC review                                              $195.00        $390.00
11/4/2020   Wang, Derrick            0.5   Data Gathering & Processing   Reviewing case data updates                                    $345.00        $172.50
11/4/2020   Wang, Derrick            1.1   Claim File Review             Continuing to review POC files                                 $345.00        $379.50
11/4/2020   Wang, Derrick            2.6   Claim File Review             Reviewing POC files                                            $345.00        $897.00
11/4/2020   Wang, Derrick            1.8   Claim File Review             Continue POC file review                                       $345.00        $621.00
11/4/2020   Wang, Derrick            2.4   Claim File Review             Review POC files- cont'd                                       $345.00        $828.00
11/5/2020   Ameri, Armin             2.5   Data Gathering & Processing   Reviewing local council translations                           $370.00        $925.00
11/5/2020   Ameri, Armin             0.8   Data Gathering & Processing   Continued review of local council translations                 $370.00        $296.00
11/5/2020   Evans, Andrew            1.0   Analysis                      Review interim data outputs for LC modeling                    $725.00        $725.00
11/5/2020   Evans, Andrew            0.5   Project Management            Coordination and management of case work streams;              $725.00        $362.50
                                                                         organizing case tasks
11/5/2020   Evans, Andrew            0.5   Data Gathering & Processing   Review of key fields and updates to plan for preliminary       $725.00        $362.50
                                                                         data standardization
11/5/2020   Evans, Andrew            0.3   Analysis                      QC review of data and related summary tabulations              $725.00        $217.50
11/5/2020   Evans, Andrew            0.4   Data Gathering & Processing   Additional consideration of issues related to data             $725.00        $290.00
                                                                         standardization
11/5/2020   Farrell, Emma            1.2   Data Gathering & Processing   Consolidate law firm and local council names                   $345.00        $414.00
11/5/2020   Farrell, Emma            1.8   Analysis                      QC tabulations workbook for KCIC                               $345.00        $621.00
11/5/2020   Farrell, Emma            1.6   Analysis                      Generate tabulations based on most recent Omni download        $345.00        $552.00
11/5/2020   Farrell, Emma            1.3   Data Gathering & Processing   Add additional law firm name cleaning steps to tabulations     $345.00        $448.50
                                                                         scripts
11/5/2020   Farrell, Emma            0.8   Claim File Review             Continue reviewing workbook 12                                 $345.00        $276.00
11/5/2020   French, Eli              3.9   Claim File Review             Excel file 17 review                                           $195.00        $760.50
11/5/2020   French, Eli              3.6   Claim File Review             Excel file 17 review- continued                                $195.00        $702.00
11/5/2020   Gelfand, Mike            1.5   Claim File Review             Continued work on Excel sheet 15                               $195.00        $292.50
11/5/2020   Gelfand, Mike            2.5   Claim File Review             Excel sheet 15 review                                          $195.00        $487.50
11/5/2020   Gelfand, Mike            1.1   Claim File Review             Claim file review                                              $195.00        $214.50
11/5/2020   Gelfand, Mike            2.9   Claim File Review             Spreadsheet review                                             $195.00        $565.50
11/5/2020   Johnson, Samantha        0.5   Claim File Review             Evaluate POC coding strategy                                   $475.00        $237.50
11/5/2020   Johnson, Samantha        1.5   Claim File Review             QC of complete POC coding files                                $475.00        $712.50
11/5/2020   Jones, Alyssa            1.7   Claim File Review             Code POC Data                                                  $195.00        $331.50
11/5/2020   Jones, Alyssa            1.8   Claim File Review             POC data review                                                $195.00        $351.00
11/5/2020   Jones, Alyssa            2.2   Claim File Review             Formatting POC Information                                     $195.00        $429.00
11/5/2020   Jones, Alyssa            1.3   Claim File Review             Continue formatting POC data                                   $195.00        $253.50
11/5/2020   Jones, Alyssa            1.5   Claim File Review             Claim file review                                              $195.00        $292.50
11/5/2020   Jones, Alyssa            0.3   Claim File Review             Review claim files                                             $195.00         $58.50
11/5/2020   Linden, Annika           3.0   Claim File Review             Review POC 16                                                  $195.00        $585.00
11/5/2020   Linden, Annika           3.0   Claim File Review             Review POC 16- cont'd                                          $195.00        $585.00
11/5/2020   Linden, Annika           3.3   Claim File Review             POC 16 review                                                  $195.00        $643.50
11/5/2020   Murray, Makeda           2.3   Data Gathering & Processing   Local council updates- permissions list, ShareFile updates     $475.00      $1,092.50




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  Date                                                                                                                                           Professional
                Employee          Hours               Category                                      Notes                            Bill rate
incurred                                                                                                                                             fees
11/5/2020   Murray, Makeda           0.3   Data Gathering & Processing   BSA work stream update                                        $475.00        $142.50
11/5/2020   Murray, Makeda           1.0   Data Gathering & Processing   Local council permissions/contact list updates                $475.00        $475.00
11/5/2020   Murray, Makeda           0.5   Data Gathering & Processing   QC Local council code updates that generate the ShareFile     $475.00        $237.50
                                                                         output
11/5/2020   Murray, Makeda           0.5   Data Gathering & Processing   POC file review, format updates                               $475.00        $237.50
11/5/2020   Murray, Makeda           2.3   Data Gathering & Processing   QC code generating summary file for KCIC                      $475.00      $1,092.50
11/5/2020   Murray, Makeda           2.1   Data Gathering & Processing   KCIC summary file updates, ShareFile upload, email to         $475.00        $997.50
                                                                         relevant parties
11/5/2020   Murray, Makeda           2.3   Data Gathering & Processing   Local council ShareFile logistics, contact list updates       $475.00      $1,092.50
11/5/2020   Murray, Makeda           2.0   Data Gathering & Processing   Data standardization memo for insurers                        $475.00        $950.00
11/5/2020   Scarpignato, Curtis      2.0   Claim File Review             Claim file review                                             $195.00        $390.00
11/5/2020   Scarpignato, Curtis      2.2   Claim File Review             POC review                                                    $195.00        $429.00
11/5/2020   Scarpignato, Curtis      2.4   Claim File Review             Claim file review- continued                                  $195.00        $468.00
11/5/2020   Scarpignato, Curtis      0.3   Claim File Review             POC file review                                               $195.00         $58.50
11/5/2020   Scarpignato, Curtis      2.6   Claim File Review             POC file review- cont'd                                       $195.00        $507.00
11/5/2020   Scarpignato, Curtis      1.1   Claim File Review             Spreadsheet review                                            $195.00        $214.50
11/5/2020   Wang, Derrick            1.8   Claim File Review             Continue to review POC files                                  $345.00        $621.00
11/5/2020   Wang, Derrick            2.7   Claim File Review             Continuing to review POC files                                $345.00        $931.50
11/5/2020   Wang, Derrick            2.6   Claim File Review             Reviewing POC files                                           $345.00        $897.00
11/6/2020   Ameri, Armin             2.0   Data Gathering & Processing   QCing local council translation table                         $370.00        $740.00
11/6/2020   Evans, Andrew            0.5   Data Gathering & Processing   Send out of notifications for LC confidential data via        $725.00        $362.50
                                                                         ShareFile
11/6/2020   Evans, Andrew            0.9   Data Gathering & Processing   Management of data standardization work; drafting client      $725.00        $652.50
                                                                         requested list re key fields
11/6/2020   Evans, Andrew            0.5   Data Gathering & Processing   Call with Linder; Andolina; Murray; and coalition on data     $725.00        $362.50
11/6/2020   Evans, Andrew            0.3   Data Gathering & Processing   Updates to LC file sharing; related follow-up                 $725.00        $217.50
11/6/2020   Evans, Andrew            0.4   Data Gathering & Processing   Call with Adrian Azer                                         $725.00        $290.00
11/6/2020   Evans, Andrew            0.4   Data Gathering & Processing   Additional work on LC data processing                         $725.00        $290.00
11/6/2020   Evans, Andrew            0.5   Data Gathering & Processing   Next steps for data processing                                $725.00        $362.50
11/6/2020   Farrell, Emma            1.0   Claim File Review             POC workbook 12 review                                        $345.00        $345.00
11/6/2020   Farrell, Emma            1.0   Claim File Review             Review POC data                                               $345.00        $345.00
11/6/2020   Farrell, Emma            1.6   Analysis                      Consolidate / refine tabulations scripts                      $345.00        $552.00
11/6/2020   Farrell, Emma            0.9   Data Gathering & Processing   Consolidate general cleaning scripts                          $345.00        $310.50
11/6/2020   French, Eli              3.6   Claim File Review             Review Excel file 24                                          $195.00        $702.00
11/6/2020   French, Eli              3.4   Claim File Review             Continue review of Excel file 24                              $195.00        $663.00
11/6/2020   Gelfand, Mike            0.8   Claim File Review             POC file review                                               $195.00        $156.00
11/6/2020   Gelfand, Mike            2.3   Claim File Review             Reviewed POC spreadsheet                                      $195.00        $448.50
11/6/2020   Gelfand, Mike            0.9   Claim File Review             Claim file review                                             $195.00        $175.50
11/6/2020   Gelfand, Mike            2.1   Claim File Review             Continued POC file review                                     $195.00        $409.50
11/6/2020   Gelfand, Mike            2.4   Claim File Review             Reviewed POC data                                             $195.00        $468.00
11/6/2020   Jones, Alyssa            2.4   Claim File Review             formatting POC extract data                                   $195.00        $468.00
11/6/2020   Jones, Alyssa            2.6   Claim File Review             continued review of POC extract information                   $195.00        $507.00
11/6/2020   Jones, Alyssa            2.0   Claim File Review             coding POC data                                               $195.00        $390.00
11/6/2020   Jones, Alyssa            3.0   Claim File Review             review POC extract information                                $195.00        $585.00
11/6/2020   Linden, Annika           2.0   Claim File Review             Finished review of POC16                                      $195.00        $390.00




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  Date                                                                                                                                            Professional
                Employee          Hours               Category                                        Notes                           Bill rate
incurred                                                                                                                                              fees
11/6/2020   Linden, Annika           3.0   Claim File Review             Review POC22                                                   $195.00        $585.00
11/6/2020   Linden, Annika           3.0   Claim File Review             Review POC file 22- cont'd                                     $195.00        $585.00
11/6/2020   Linden, Annika           0.8   Claim File Review             Continue reviewing POC file 22                                 $195.00        $156.00
11/6/2020   Murray, Makeda           0.8   Data Gathering & Processing   Review LC Excel workbooks and coordinate roll-out              $475.00        $380.00
                                                                         through ShareFile
11/6/2020   Murray, Makeda           0.3   Data Gathering & Processing   Review data standardization memo, respond to LC                $475.00        $142.50
                                                                         ShareFile issues
11/6/2020   Murray, Makeda           0.5   Data Gathering & Processing   Call with CASJ- Slater, Junell, Andolina, Linder and Evans     $475.00        $237.50
11/6/2020   Murray, Makeda           2.0   Data Gathering & Processing   LC ShareFile roll-out updates                                  $475.00        $950.00
11/6/2020   Murray, Makeda           1.3   Data Gathering & Processing   Local council claims distribution update                       $475.00        $617.50
11/6/2020   Murray, Makeda           2.1   Data Gathering & Processing   LC roll-out through ShareFile, updates and logistics           $475.00        $997.50
11/6/2020   Scarpignato, Curtis      2.2   Claim File Review             Claim file review                                              $195.00        $429.00
11/6/2020   Scarpignato, Curtis      0.3   Claim File Review             Claim file review- contd                                       $195.00         $58.50
11/6/2020   Scarpignato, Curtis      0.5   Claim File Review             Continue claim file review                                     $195.00         $97.50
11/6/2020   Scarpignato, Curtis      1.4   Claim File Review             POC file review                                                $195.00        $273.00
11/6/2020   Scarpignato, Curtis      0.3   Claim File Review             POC file review- cont'd                                        $195.00         $58.50
11/6/2020   Scarpignato, Curtis      0.6   Claim File Review             Review POC files                                               $195.00        $117.00
11/6/2020   Scarpignato, Curtis      0.4   Claim File Review             Continue reviewing POC files                                   $195.00         $78.00
11/6/2020   Scarpignato, Curtis      0.3   Claim File Review             Claim file review                                              $195.00         $58.50
11/6/2020   Scarpignato, Curtis      0.9   Claim File Review             Claim file review- contd                                       $195.00        $175.50
11/6/2020   Scarpignato, Curtis      1.7   Claim File Review             Continue claims file review                                    $195.00        $331.50
11/6/2020   Wang, Derrick            2.1   Claim File Review             Continuing to review POC files                                 $345.00        $724.50
11/6/2020   Wang, Derrick            2.2   Claim File Review             Reviewing POC files                                            $345.00        $759.00
11/7/2020   Scarpignato, Curtis      0.5   Claim File Review             Claim file review                                              $195.00         $97.50
11/7/2020   Scarpignato, Curtis      0.5   Claim File Review             Claim file review- contd                                       $195.00         $97.50
11/7/2020   Scarpignato, Curtis      0.2   Claim File Review             Continue claims file review                                    $195.00         $39.00
11/7/2020   Scarpignato, Curtis      0.3   Claim File Review             POC file review                                                $195.00         $58.50
11/7/2020   Scarpignato, Curtis      1.0   Claim File Review             POC file review- cont'd                                        $195.00        $195.00
11/8/2020   Ameri, Armin             3.0   Data Gathering & Processing   Implementing local council comments into translation table     $370.00      $1,110.00
11/8/2020   Jones, Alyssa            3.5   Claim File Review             Review POC extract data                                        $195.00        $682.50
11/8/2020   Murray, Makeda           1.0   Data Gathering & Processing   BSA Local council claims responses                             $475.00        $475.00
11/8/2020   Scarpignato, Curtis      1.1   Claim File Review             Review POC files                                               $195.00        $214.50
11/8/2020   Scarpignato, Curtis      0.3   Claim File Review             Claim file review                                              $195.00         $58.50
11/8/2020   Scarpignato, Curtis      0.7   Claim File Review             POC file review                                                $195.00        $136.50
11/9/2020   Ameri, Armin             0.6   Data Gathering & Processing   Reviewing LC updates and planning next steps                   $370.00        $222.00
11/9/2020   Ameri, Armin             2.3   Data Gathering & Processing   Updating LC translation with each local council's              $370.00        $851.00
                                                                         comments
11/9/2020   Ameri, Armin             1.5   Data Gathering & Processing   Continued work on LC comment implementation                    $370.00        $555.00
11/9/2020   Evans, Andrew            0.5   Communication with            Call with Murray; Ameri; Warner; Linder, and Tuffey            $725.00        $362.50
                                           Counsel
11/9/2020   Evans, Andrew            0.4   Data Gathering & Processing   Work with team on plan for handling latest LC data             $725.00        $290.00
                                                                         requests and updates
11/9/2020   Evans, Andrew            0.3   Analysis                      Updates to data tabulations; QC review                         $725.00        $217.50
11/9/2020   Evans, Andrew            0.5   Analysis                      Updates to plan for interim deliverables                       $725.00        $362.50
11/9/2020   Evans, Andrew            0.3   Analysis                      Additional work on LC tabulations for others on debtor         $725.00        $217.50
                                                                         team




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  Date                                                                                                                                              Professional
                 Employee          Hours               Category                                        Notes                            Bill rate
incurred                                                                                                                                                fees
11/9/2020    Farrell, Emma            0.4   Data Gathering & Processing   Write code to standardize name fields                           $345.00        $138.00
11/9/2020    Farrell, Emma            0.8   Data Gathering & Processing   Consolidate Omni processing & tabulations scripts               $345.00        $276.00
11/9/2020    Farrell, Emma            2.0   Claim File Review             Review POC workbook 27                                          $345.00        $690.00
11/9/2020    Farrell, Emma            2.4   Claim File Review             Continued reviewing POC workbook 27                             $345.00        $828.00
11/9/2020    Farrell, Emma            0.8   Data Gathering & Processing   QC Omni POC workbook creation script                            $345.00        $276.00
11/9/2020    Farrell, Emma            0.4   Analysis                      Generate additional tabulation fields excel workbook            $345.00        $138.00
11/9/2020    Farrell, Emma            0.9   Data Gathering & Processing   Add code to update POC workbook generation for                  $345.00        $310.50
                                                                          additional Omni versions
11/9/2020    French, Eli              2.7   Claim File Review             Reviewed Excel file 24, started Excel file 29                   $195.00        $526.50
11/9/2020    French, Eli              1.8   Claim File Review             Continued review of Excel file 29                               $195.00        $351.00
11/9/2020    French, Eli              3.5   Claim File Review             Concluded review of Excel file 29                               $195.00        $682.50
11/9/2020    Gelfand, Mike            1.6   Claim File Review             Review Excel Sheet 23                                           $195.00        $312.00
11/9/2020    Gelfand, Mike            2.4   Claim File Review             Review Excel Sheet 23- continued                                $195.00        $468.00
11/9/2020    Gelfand, Mike            1.1   Claim File Review             Review Excel Sheet 23- continued                                $195.00        $214.50
11/9/2020    Gelfand, Mike            2.9   Claim File Review             Continued review of Excel Sheet 23                              $195.00        $565.50
11/9/2020    Gelfand, Mike            1.0   Claim File Review             POC review                                                      $195.00        $195.00
11/9/2020    Jones, Alyssa            2.7   Claim File Review             Coding POC data                                                 $195.00        $526.50
11/9/2020    Jones, Alyssa            3.1   Claim File Review             Continuation of POC data coding                                 $195.00        $604.50
11/9/2020    Jones, Alyssa            2.2   Claim File Review             Reviewing POC extract data                                      $195.00        $429.00
11/9/2020    Linden, Annika           3.0   Claim File Review             Reviewed POC22                                                  $195.00        $585.00
11/9/2020    Linden, Annika           3.0   Claim File Review             Continued POC22 review                                          $195.00        $585.00
11/9/2020    Linden, Annika           1.0   Claim File Review             Finished POC22                                                  $195.00        $195.00
11/9/2020    Linden, Annika           2.3   Claim File Review             Started reviewing POC file 30                                   $195.00        $448.50
11/9/2020    Murray, Makeda           0.5   Communication with            Call with counsel re: local council claims sorting process-     $475.00        $237.50
                                            Counsel                       Linder, Warner, Tuffey, Ameri and Evans
11/9/2020    Murray, Makeda           0.4   Data Gathering & Processing   POC document download from Omni                                 $475.00        $190.00
11/9/2020    Murray, Makeda           0.2   Fee Request Preparation       Sept 2020 CNO review                                            $475.00         $95.00
11/9/2020    Murray, Makeda           1.0   Data Gathering & Processing   Local council work stream updates                               $475.00        $475.00
11/9/2020    Murray, Makeda           0.5   Data Gathering & Processing   Local council work plan review and updates                      $475.00        $237.50
11/9/2020    Murray, Makeda           1.6   Data Gathering & Processing   Data production to A&M                                          $475.00        $760.00
11/9/2020    Murray, Makeda           2.2   Data Gathering & Processing   Updates to Local council work stream, ShareFile contact         $475.00      $1,045.00
                                                                          list and system updates
11/9/2020    Murray, Makeda           2.1   Data Gathering & Processing   Review ShareFile contact list, update for additional            $475.00        $997.50
                                                                          contacts with signed agreements
11/9/2020    Scarpignato, Curtis      0.7   Claim File Review             Claim file review                                               $195.00        $136.50
11/9/2020    Scarpignato, Curtis      0.7   Claim File Review             POC file review                                                 $195.00        $136.50
11/9/2020    Scarpignato, Curtis      2.3   Claim File Review             Review POC files                                                $195.00        $448.50
11/9/2020    Scarpignato, Curtis      2.6   Claim File Review             POC file review                                                 $195.00        $507.00
11/9/2020    Scarpignato, Curtis      1.5   Claim File Review             POC file review- cont'd                                         $195.00        $292.50
11/9/2020    Scarpignato, Curtis      1.9   Claim File Review             Claim file review                                               $195.00        $370.50
11/9/2020    Scarpignato, Curtis      1.6   Claim File Review             Continue claim file review                                      $195.00        $312.00
11/9/2020    Wang, Derrick            2.3   Claim File Review             Reviewing POC files                                             $345.00        $793.50
11/9/2020    Wang, Derrick            2.4   Claim File Review             Claim file review                                               $345.00        $828.00
11/9/2020    Wang, Derrick            2.1   Claim File Review             POC file review                                                 $345.00        $724.50
11/10/2020   Ameri, Armin             3.0   Data Gathering & Processing   Implementing LC's comments into our data processing and         $370.00      $1,110.00
                                                                          translations



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  Date                                                                                                                                           Professional
                 Employee          Hours               Category                                      Notes                           Bill rate
incurred                                                                                                                                             fees
11/10/2020   Ameri, Armin             2.4   Data Gathering & Processing   Continued work updating the LC translation and data          $370.00        $888.00
                                                                          processing
11/10/2020   Ameri, Armin             1.8   Data Gathering & Processing   QCing translation table and reviewing next steps in LC       $370.00        $666.00
                                                                          data processing
11/10/2020   Evans, Andrew            0.5   Data Gathering & Processing   Additional work with team on LC data processing updates      $725.00        $362.50
11/10/2020   Evans, Andrew            0.2   Project Management            Project management                                           $725.00        $145.00
11/10/2020   Farrell, Emma            1.1   Analysis                      QC Omni extract tabulations scripts                          $345.00        $379.50
11/10/2020   Farrell, Emma            0.6   Data Gathering & Processing   Determine next steps for LC workstream                       $345.00        $207.00
11/10/2020   Farrell, Emma            2.1   Claim File Review             Continue reviewing POC workbook 27                           $345.00        $724.50
11/10/2020   Farrell, Emma            2.3   Data Gathering & Processing   Streamline Omni POC workbook creation scripts                $345.00        $793.50
11/10/2020   Farrell, Emma            1.0   Data Gathering & Processing   QC Omni POC workbook creation scripts                        $345.00        $345.00
11/10/2020   French, Eli              1.9   Claim File Review             Claim file review- Excel 29                                  $195.00        $370.50
11/10/2020   French, Eli              3.4   Claim File Review             Review Excel 29                                              $195.00        $663.00
11/10/2020   French, Eli              2.7   Claim File Review             Review Excel 29- continued                                   $195.00        $526.50
11/10/2020   Gelfand, Mike            3.9   Claim File Review             Worked on Excel file 15, started Excel file 33               $195.00        $760.50
11/10/2020   Gelfand, Mike            1.6   Claim File Review             Continued review of Excel file 33                            $195.00        $312.00
11/10/2020   Gelfand, Mike            2.3   Claim File Review             Excel file 33 review- contd                                  $195.00        $448.50
11/10/2020   Gelfand, Mike            0.2   Claim File Review             Review of Excel file 33- Continued                           $195.00         $39.00
11/10/2020   Johnson, Samantha        1.7   Claim File Review             QC and follow up on completed POC coding                     $475.00        $807.50
11/10/2020   Johnson, Samantha        1.5   Claim File Review             Continue QC of POC coding                                    $475.00        $712.50
11/10/2020   Jones, Alyssa            2.4   Claim File Review             Review POC extract data                                      $195.00        $468.00
11/10/2020   Jones, Alyssa            2.3   Claim File Review             Reviewing POC data                                           $195.00        $448.50
11/10/2020   Jones, Alyssa            2.0   Claim File Review             Formatting poc extract data                                  $195.00        $390.00
11/10/2020   Jones, Alyssa            1.3   Claim File Review             Continued review of POC data                                 $195.00        $253.50
11/10/2020   Linden, Annika           3.0   Claim File Review             Worked on POC30                                              $195.00        $585.00


11/10/2020   Linden, Annika           3.0   Claim File Review             Review POC30 Excel file                                      $195.00        $585.00
11/10/2020   Linden, Annika           3.0   Claim File Review             Continue reviewing POC30 Excel file                          $195.00        $585.00


11/10/2020   Linden, Annika           0.8   Claim File Review             Review POC file 33                                           $195.00        $156.00
11/10/2020   Murray, Makeda           0.5   Data Gathering & Processing   Local council work stream overview                           $475.00        $237.50
11/10/2020   Murray, Makeda           0.6   Data Gathering & Processing   Local council permissions updates, troubleshooting login     $475.00        $285.00
                                                                          issues for council contacts
11/10/2020   Murray, Makeda           1.3   Data Gathering & Processing   QC processing code to produce LC workbooks                   $475.00        $617.50
11/10/2020   Murray, Makeda           0.5   Project Management            BSA overview with new team resource                          $475.00        $237.50
11/10/2020   Murray, Makeda           0.5   Data Gathering & Processing   Omni data download issues, Local council work stream         $475.00        $237.50
                                                                          updates

11/10/2020   Murray, Makeda           2.8   Data Gathering & Processing   Local council processing QC                                  $475.00      $1,330.00
11/10/2020   Murray, Makeda           3.1   Data Gathering & Processing   QC Local council processing code, updates to same            $475.00      $1,472.50
11/10/2020   Murray, Makeda           2.9   Data Gathering & Processing   Review LC processing code                                    $475.00      $1,377.50
11/10/2020   Scarpignato, Curtis      1.5   Claim File Review             Claim file review                                            $195.00        $292.50

11/10/2020   Scarpignato, Curtis      2.7   Claim File Review             Claim file review- contd                                     $195.00        $526.50
11/10/2020   Scarpignato, Curtis      2.6   Claim File Review             Continue claims file review                                  $195.00        $507.00


11/10/2020   Scarpignato, Curtis      0.5   Claim File Review             Claim file review                                            $195.00         $97.50




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  Date                                                                                                                                           Professional
                 Employee          Hours               Category                                        Notes                         Bill rate
incurred                                                                                                                                             fees
11/10/2020   Scarpignato, Curtis      1.0   Claim File Review             Continue claims file review                                  $195.00        $195.00


11/10/2020   Scarpignato, Curtis      1.8   Claim File Review             POC file review                                              $195.00        $351.00
11/10/2020   Wang, Derrick            1.8   Claim File Review             Continuing to review POC files                               $345.00        $621.00
11/10/2020   Wang, Derrick            2.4   Claim File Review             Reviewing POC files                                          $345.00        $828.00
11/10/2020   Wang, Derrick            0.6   Data Gathering & Processing   Reviewing and QC local council data processing               $345.00        $207.00
11/10/2020   Wang, Derrick            1.4   Data Gathering & Processing   QC procedures for local council name standardization         $345.00        $483.00
11/11/2020   Ameri, Armin             3.0   Data Gathering & Processing   QCing updates to local council translations                  $370.00      $1,110.00
11/11/2020   Ameri, Armin             2.8   Data Gathering & Processing   Continued review of local council translations               $370.00      $1,036.00
11/11/2020   Ameri, Armin             1.0   Data Gathering & Processing   Reviewing data and confidentiality language for local        $370.00        $370.00
                                                                          council claim files

11/11/2020   Evans, Andrew            0.7   Project Management            Project planning and organizing tasks; update to team        $725.00        $507.50


11/11/2020   Evans, Andrew            0.5   Data Gathering & Processing   Updates to LC data processing; updates to data for other     $725.00        $362.50
                                                                          interested parties

11/11/2020   Evans, Andrew            0.4   Data Gathering & Processing   Work with team to finalize data extract for TCC and          $725.00        $290.00
                                                                          communication related to the same
11/11/2020   Evans, Andrew            0.4   Data Gathering & Processing   Additional updates to data processing work                   $725.00        $290.00
11/11/2020   Farrell, Emma            1.1   Data Gathering & Processing   Generate additional POC workbooks for most recent Omni       $345.00        $379.50
                                                                          downloads
11/11/2020   Farrell, Emma            1.3   Claim File Review             Review POC workbook 36                                       $345.00        $448.50
11/11/2020   Farrell, Emma            0.5   Data Gathering & Processing   Review next steps for claim file review (CFR)                $345.00        $172.50
11/11/2020   Farrell, Emma            2.1   Data Gathering & Processing   Add refining codes to POC workbook creation scripts          $345.00        $724.50




11/11/2020   Farrell, Emma            1.0   Analysis                      Generate weekly tabulations for 2020.11.10 Omni              $345.00        $345.00
                                                                          download
11/11/2020   Farrell, Emma            0.2   Analysis                      Determine next steps for tabulations scripts and             $345.00         $69.00
                                                                          comparison
11/11/2020   Farrell, Emma            1.2   Data Gathering & Processing   Consolidate law firm names in most recent Omni               $345.00        $414.00
                                                                          download
11/11/2020   French, Eli              0.2   Claim File Review             Review excel file 29                                         $195.00         $39.00
11/11/2020   French, Eli              2.1   Claim File Review             Claim file review- file 35                                   $195.00        $409.50
11/11/2020   French, Eli              1.8   Claim File Review             Claim file review- file 35- cont'd                           $195.00        $351.00
11/11/2020   French, Eli              1.5   Claim File Review             Continued claim file review- file 35                         $195.00        $292.50


11/11/2020   French, Eli              2.4   Claim File Review             Spreadsheet review- Excel file 35                            $195.00        $468.00


11/11/2020   Gelfand, Mike            0.6   Claim File Review             Claim file review                                            $195.00        $117.00
11/11/2020   Gelfand, Mike            2.1   Claim File Review             Claim file review- cont'd                                    $195.00        $409.50
11/11/2020   Gelfand, Mike            1.2   Claim File Review             Spreadsheet review                                           $195.00        $234.00
11/11/2020   Gelfand, Mike            1.5   Claim File Review             Continued claim file review                                  $195.00        $292.50
11/11/2020   Gelfand, Mike            2.4   Claim File Review             Review claims data                                           $195.00        $468.00
11/11/2020   Gelfand, Mike            0.2   Claim File Review             Claim file review- cont'd                                    $195.00         $39.00
11/11/2020   Johnson, Samantha        0.7   Claim File Review             Review POC coding process                                    $475.00        $332.50
11/11/2020   Jones, Alyssa            2.0   Claim File Review             Continued formatting of data                                 $195.00        $390.00




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  Date                                                                                                                                            Professional
                 Employee          Hours               Category                                      Notes                            Bill rate
incurred                                                                                                                                              fees
11/11/2020   Jones, Alyssa            1.0   Claim File Review             Review case updates                                           $195.00        $195.00
11/11/2020   Jones, Alyssa            3.0   Claim File Review             Recording extract data                                        $195.00        $585.00
11/11/2020   Jones, Alyssa            2.0   Claim File Review             Analyzing POC extract data                                    $195.00        $390.00
11/11/2020   Linden, Annika           3.0   Claim File Review             Reviewed POC 33                                               $195.00        $585.00
11/11/2020   Linden, Annika           3.0   Claim File Review             Continued review of POC 33                                    $195.00        $585.00
11/11/2020   Linden, Annika           3.2   Claim File Review             Review POC file 33                                            $195.00        $624.00
11/11/2020   Linden, Annika           0.5   Claim File Review             Update on deliverables and next steps                         $195.00         $97.50
11/11/2020   Murray, Makeda           0.5   Data Gathering & Processing   Local council work stream update                              $475.00        $237.50
11/11/2020   Murray, Makeda           0.6   Project Management            BSA work plan update, BSA materials to new team               $475.00        $285.00
                                                                          resource
11/11/2020   Murray, Makeda           0.5   Data Gathering & Processing   BSA team update                                               $475.00        $237.50
11/11/2020   Murray, Makeda           0.2   Data Gathering & Processing   POC data processing, workplan                                 $475.00         $95.00
11/11/2020   Murray, Makeda           2.6   Data Gathering & Processing   Review updated local council workbooks to QC code             $475.00      $1,235.00
                                                                          revisions, draft communications to counsel
11/11/2020   Murray, Makeda           0.8   Data Gathering & Processing   BSA POC data to the TCC through ShareFile,                    $475.00        $380.00
                                                                          communications to counsel re: same
11/11/2020   Murray, Makeda           0.8   Data Gathering & Processing   BSA POC data to the TCC, ShareFile setup, Omni data           $475.00        $380.00
                                                                          download
11/11/2020   Scarpignato, Curtis      1.3   Claim File Review             POC file review                                               $195.00        $253.50
11/11/2020   Scarpignato, Curtis      1.3   Claim File Review             POC file review- cont'd                                       $195.00        $253.50
11/11/2020   Scarpignato, Curtis      0.6   Claim File Review             Review POC files                                              $195.00        $117.00
11/11/2020   Scarpignato, Curtis      0.7   Claim File Review             Continue reviewing POC files                                  $195.00        $136.50
11/11/2020   Scarpignato, Curtis      1.0   Claim File Review             Spreadsheet review                                            $195.00        $195.00
11/11/2020   Scarpignato, Curtis      0.5   Claim File Review             Case updates and process streamlining                         $195.00         $97.50


11/11/2020   Scarpignato, Curtis      0.9   Claim File Review             Review POC files                                              $195.00        $175.50
11/11/2020   Scarpignato, Curtis      1.9   Claim File Review             Claim file review                                             $195.00        $370.50
11/11/2020   Scarpignato, Curtis      0.9   Claim File Review             POC file review                                               $195.00        $175.50
11/11/2020   Scarpignato, Curtis      0.9   Claim File Review             Continue POC file review                                      $195.00        $175.50
11/11/2020   Shipp, Kory              0.5   Analysis                      Review data tasks, scheduling                                 $475.00        $237.50
11/11/2020   Shipp, Kory              1.0   Data Gathering & Processing   Review legal documents and data                               $475.00        $475.00
11/11/2020   Wang, Derrick            0.4   Data Gathering & Processing   Reviewing procedures for POC data local council               $345.00        $138.00
                                                                          standardization
11/11/2020   Wang, Derrick            0.3   Data Gathering & Processing   QC processing of POC data for claim review                    $345.00        $103.50
11/11/2020   Wang, Derrick            0.5   Project Management            Reviewing work streams and case updates                       $345.00        $172.50
11/11/2020   Wang, Derrick            1.8   Data Gathering & Processing   Continuing to QC local council translation tables for POC     $345.00        $621.00
                                                                          data
11/11/2020   Wang, Derrick            1.4   Data Gathering & Processing   Update processing of local councils in POC data               $345.00        $483.00
11/11/2020   Wang, Derrick            2.3   Data Gathering & Processing   QC translation tables and updates for local council name      $345.00        $793.50
                                                                          processing
11/12/2020   Ameri, Armin             2.8   Data Gathering & Processing   Manually assigning ambiguous claims to their                  $370.00      $1,036.00
                                                                          corresponding local council
11/12/2020   Ameri, Armin             1.6   Data Gathering & Processing   Continued work manually assigning claims to their             $370.00        $592.00
                                                                          corresponding LC
11/12/2020   Ameri, Armin             2.7   Data Gathering & Processing   Implementing local council's comments to improve local        $370.00        $999.00
                                                                          council translation table
11/12/2020   Ameri, Armin             2.4   Data Gathering & Processing   Continued work updating local council translation table       $370.00        $888.00
11/12/2020   Ameri, Armin             1.3   Data Gathering & Processing   Rerunning local council translation script, reviewing new     $370.00        $481.00
                                                                          files
11/12/2020   Evans, Andrew            0.6   Communication with            Call with Andolina; Linder; Murray on next steps              $725.00        $435.00
                                            Counsel
11/12/2020   Evans, Andrew            0.3   Project Management            Updates to staff on data analysis and processing and next     $725.00        $217.50
                                                                          steps



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  Date                                                                                                                                             Professional
                 Employee        Hours               Category                                      Notes                               Bill rate
incurred                                                                                                                                               fees
11/12/2020   Evans, Andrew          0.5   Data Gathering & Processing   Updates to data processing and follow-up with parties            $725.00        $362.50
                                                                        related to same
11/12/2020   Evans, Andrew          0.5   Data Gathering & Processing   Review and response to emails on data questions;                 $725.00        $362.50
                                                                        consideration of data processing input from insurers
11/12/2020   Farrell, Emma          0.8   Analysis                      QC 2020.11.10 tabulations                                        $345.00        $276.00
11/12/2020   Farrell, Emma          1.2   Analysis                      Update tabulations script to account for most recent Omni        $345.00        $414.00
                                                                        download
11/12/2020   Farrell, Emma          0.3   Claim File Review             POC workbook 36 review                                           $345.00        $103.50
11/12/2020   Farrell, Emma          0.2   Data Gathering & Processing   Determine next steps for additional POC workbook                 $345.00         $69.00
                                                                        creation script
11/12/2020   Farrell, Emma          1.0   Data Gathering & Processing   Add code to capture and convert nonnumeric claims                $345.00        $345.00
                                                                        numbers in additional POC workbook creation script
11/12/2020   Farrell, Emma          0.3   Data Gathering & Processing   Determine next steps for POC workbooks and tabulations           $345.00        $103.50
                                                                        based on most recent Omni download
11/12/2020   Farrell, Emma          1.6   Data Gathering & Processing   Write script to append reviewed POCs                             $345.00        $552.00
11/12/2020   Farrell, Emma          0.9   Data Gathering & Processing   Review completed POCs and standardize field/rows for             $345.00        $310.50
                                                                        appending
11/12/2020   Farrell, Emma          0.4   Data Gathering & Processing   Review current processing scripts                                $345.00        $138.00
11/12/2020   French, Eli            0.2   Claim File Review             Claim file review- Excel 39                                      $195.00         $39.00
11/12/2020   French, Eli            1.9   Claim File Review             Spreadsheet review- Excel file 39                                $195.00        $370.50
11/12/2020   French, Eli            2.0   Claim File Review             Spreadsheet review- Excel file 39 continued                      $195.00        $390.00
11/12/2020   French, Eli            1.3   Claim File Review             Continued spreadsheet review- Excel file 39                      $195.00        $253.50
11/12/2020   French, Eli            2.6   Claim File Review             Claim file review- Excel file 39                                 $195.00        $507.00
11/12/2020   Gelfand, Mike          0.7   Claim File Review             Spreadsheet review                                               $195.00        $136.50
11/12/2020   Gelfand, Mike          1.8   Claim File Review             Claim file review                                                $195.00        $351.00
11/12/2020   Gelfand, Mike          1.4   Claim File Review             Continued claim file review                                      $195.00        $273.00
11/12/2020   Gelfand, Mike          3.1   Claim File Review             Spreadsheet review- cont'd                                       $195.00        $604.50
11/12/2020   Gelfand, Mike          0.8   Claim File Review             Spreadsheet review- continued                                    $195.00        $156.00
11/12/2020   Gelfand, Mike          0.2   Claim File Review             Spreadsheet review- continued                                    $195.00         $39.00
11/12/2020   Gelfand, Mike          1.0   Claim File Review             Claim file review                                                $195.00        $195.00
11/12/2020   Johnson, Samantha      2.4   Claim File Review             QC and updates to POC coding                                     $475.00      $1,140.00
11/12/2020   Johnson, Samantha      1.4   Claim File Review             Updates to POC coding                                            $475.00        $665.00
11/12/2020   Jones, Alyssa          3.0   Claim File Review             Coding POC data                                                  $195.00        $585.00
11/12/2020   Jones, Alyssa          1.0   Claim File Review             Recording and verifying POC data                                 $195.00        $195.00
11/12/2020   Jones, Alyssa          2.0   Claim File Review             Formatting POC extract data                                      $195.00        $390.00
11/12/2020   Jones, Alyssa          2.0   Claim File Review             Continued recording of POC data                                  $195.00        $390.00
11/12/2020   Linden, Annika         1.8   Claim File Review             Finished POC33 review                                            $195.00        $351.00
11/12/2020   Linden, Annika         3.0   Claim File Review             Started POC40 review                                             $195.00        $585.00
11/12/2020   Linden, Annika         3.0   Claim File Review             Cont'd POC40 review                                              $195.00        $585.00
11/12/2020   Linden, Annika         1.5   Claim File Review             POC40 review- cont'd                                             $195.00        $292.50
11/12/2020   Murray, Makeda         0.6   Project Management            BSA work stream/process review with additional team              $475.00        $285.00
                                                                        resource
11/12/2020   Murray, Makeda         0.6   Communication with            Call with counsel re: local council work stream, strategy on     $475.00        $285.00
                                          Counsel                       upcoming items - Andolina, Linder, and Evans
11/12/2020   Murray, Makeda         0.5   Project Management            Review BSA data project plan, communicate updates to             $475.00        $237.50
                                                                        same
11/12/2020   Murray, Makeda         0.3   Data Gathering & Processing   BSA POC file generation and weekly tabulation updates            $475.00        $142.50
11/12/2020   Murray, Makeda         3.4   Data Gathering & Processing   BSA local council updates, review counsel                        $475.00      $1,615.00
                                                                        communications to councils, provide guidance to data team
                                                                        re: various work streams
11/12/2020   Murray, Makeda         0.3   Data Gathering & Processing   BSA data process updates                                         $475.00        $142.50
11/12/2020   Murray, Makeda         2.7   Data Gathering & Processing   Local council standardization                                    $475.00      $1,282.50




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  Date                                                                                                                                             Professional
                 Employee          Hours               Category                                        Notes                           Bill rate
incurred                                                                                                                                               fees
11/12/2020   Murray, Makeda           3.0   Data Gathering & Processing   Local council standardization, updates based on LC             $475.00      $1,425.00
                                                                          feedback
11/12/2020   Murray, Makeda           2.2   Data Gathering & Processing   ShareFile permissions list updates and new local council       $475.00      $1,045.00
                                                                          folder generation
11/12/2020   Scarpignato, Curtis      2.1   Claim File Review             Spreadsheet review                                             $195.00        $409.50
11/12/2020   Scarpignato, Curtis      2.5   Claim File Review             Continue spreadsheet review                                    $195.00        $487.50
11/12/2020   Scarpignato, Curtis      2.2   Claim File Review             Claim file review                                              $195.00        $429.00
11/12/2020   Scarpignato, Curtis      0.3   Claim File Review             Continue claim file review                                     $195.00         $58.50
11/12/2020   Scarpignato, Curtis      0.3   Claim File Review             Claim file review- cont'd                                      $195.00         $58.50
11/12/2020   Scarpignato, Curtis      1.0   Claim File Review             POC file review                                                $195.00        $195.00
11/12/2020   Scarpignato, Curtis      0.7   Claim File Review             POC file review- cont'd                                        $195.00        $136.50
11/12/2020   Shipp, Kory              0.5   Project Management            Review of Omni processing                                      $475.00        $237.50
11/12/2020   Shipp, Kory              1.0   Data Gathering & Processing   Review scripts for processing Omni data                        $475.00        $475.00
11/12/2020   Shipp, Kory              0.5   Project Management            Review data management processes                               $475.00        $237.50
11/12/2020   Shipp, Kory              0.5   Project Management            Continue reviewing data management processes on case           $475.00        $237.50
11/12/2020   Wang, Derrick            1.4   Data Gathering & Processing   QC and update translation table for local council POC data     $345.00        $483.00
11/12/2020   Wang, Derrick            2.3   Data Gathering & Processing   Updating POC data processing for claim review                  $345.00        $793.50
11/12/2020   Wang, Derrick            0.3   Data Gathering & Processing   Reviewing local council standardization procedures             $345.00        $103.50
11/12/2020   Wang, Derrick            2.6   Data Gathering & Processing   Continuing to update POC data processing for claim             $345.00        $897.00
                                                                          review
11/12/2020   Wang, Derrick            1.1   Analysis                      Reviewing and updating tabulation of processed POC data        $345.00        $379.50
11/12/2020   Wang, Derrick            0.8   Data Gathering & Processing   Updating local council standardization for POC data            $345.00        $276.00
11/12/2020   Wang, Derrick            1.0   Data Gathering & Processing   Updating POC data formatting for claim review                  $345.00        $345.00
11/12/2020   Wang, Derrick            0.4   Data Gathering & Processing   QC scripts to process POC data by local council                $345.00        $138.00
11/13/2020   Ameri, Armin             2.8   Data Gathering & Processing   QCing local council translations and output                    $370.00      $1,036.00
11/13/2020   Ameri, Armin             2.2   Data Gathering & Processing   Continued review of local council translations                 $370.00        $814.00
11/13/2020   Evans, Andrew            0.6   Data Gathering & Processing   Call with Azer; Murray; Linder (left early); and KCIC          $725.00        $435.00
                                                                          team on data processing updates and next steps
11/13/2020   Evans, Andrew            1.0   Data Gathering & Processing   Updates to POC processing; updates to new round of data        $725.00        $725.00
                                                                          for LCs and other parties
11/13/2020   Evans, Andrew            0.4   Analysis                      Analysis and task planning to prep for mediation call next     $725.00        $290.00
                                                                          week
11/13/2020   Evans, Andrew            0.4   Data Gathering & Processing   Additional POC data processing updates                         $725.00        $290.00
11/13/2020   Evans, Andrew            0.4   Analysis                      Follow-up on inquiry from Matt Linder and review of data       $725.00        $290.00
                                                                          related to same
11/13/2020   Farrell, Emma            2.0   Data Gathering & Processing   Generate tabulations for most recent Omni download             $345.00        $690.00
11/13/2020   Farrell, Emma            0.6   Data Gathering & Processing   Format most recent tabulations workbooks                       $345.00        $207.00
11/13/2020   Farrell, Emma            1.8   Claim File Review             Claim file review, file 36                                     $345.00        $621.00
11/13/2020   Farrell, Emma            0.8   Data Gathering & Processing   Add updated local council name cleaning code to                $345.00        $276.00
                                                                          tabulations scripts
11/13/2020   Farrell, Emma            0.2   Data Gathering & Processing   Determine next steps for generating separate POC               $345.00         $69.00
                                                                          workbooks
11/13/2020   Farrell, Emma            0.6   Data Gathering & Processing   Add code to flag claims missing key fields in workbook         $345.00        $207.00
                                                                          creation script
11/13/2020   Farrell, Emma            2.4   Analysis                      Update tabulations based on cleaned historical and current     $345.00        $828.00
                                                                          LC names
11/13/2020   Farrell, Emma            0.4   Analysis                      Determine next steps for updating tabulations with cleaned     $345.00        $138.00
                                                                          historical/current local council names
11/13/2020   Farrell, Emma            0.3   Analysis                      QC updated tabulations files                                   $345.00        $103.50
11/13/2020   French, Eli              1.1   Claim File Review             Reviewed Excel file 43                                         $195.00        $214.50
11/13/2020   French, Eli              1.5   Claim File Review             Reviewed Excel file 43- contd                                  $195.00        $292.50
11/13/2020   French, Eli              1.3   Claim File Review             Continued review of Excel file 43                              $195.00        $253.50




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  Date                                                                                                                                            Professional
                 Employee          Hours               Category                                       Notes                           Bill rate
incurred                                                                                                                                              fees
11/13/2020   French, Eli              2.5   Claim File Review             Reviewed Excel file 43- continued                             $195.00        $487.50
11/13/2020   French, Eli              1.4   Claim File Review             Excel file 43 review                                          $195.00        $273.00
11/13/2020   French, Eli              2.2   Claim File Review             Excel file 46 review                                          $195.00        $429.00
11/13/2020   Gelfand, Mike            3.9   Claim File Review             Claim file review                                             $195.00        $760.50
11/13/2020   Gelfand, Mike            1.6   Claim File Review             Spreadsheet review                                            $195.00        $312.00
11/13/2020   Gelfand, Mike            2.3   Claim File Review             Review of claims data files                                   $195.00        $448.50
11/13/2020   Gelfand, Mike            0.2   Claim File Review             Claim file review- contd                                      $195.00         $39.00
11/13/2020   Johnson, Samantha        1.4   Claim File Review             Update to POC coding protocols                                $475.00        $665.00
11/13/2020   Jones, Alyssa            0.5   Claim File Review             Review file progress                                          $195.00         $97.50
11/13/2020   Jones, Alyssa            2.0   Claim File Review             Coding POC data                                               $195.00        $390.00
11/13/2020   Jones, Alyssa            1.7   Claim File Review             Continued review of POC information                           $195.00        $331.50
11/13/2020   Jones, Alyssa            1.5   Claim File Review             Continued coding of POC data                                  $195.00        $292.50
11/13/2020   Jones, Alyssa            2.3   Claim File Review             Reviewing POC extracted information                           $195.00        $448.50
11/13/2020   Linden, Annika           3.0   Claim File Review             Finished file POC40                                           $195.00        $585.00
11/13/2020   Linden, Annika           1.1   Claim File Review             Review file POC40                                             $195.00        $214.50
11/13/2020   Linden, Annika           2.5   Claim File Review             Started file POC44                                            $195.00        $487.50
11/13/2020   Murray, Makeda           3.0   Data Gathering & Processing   ShareFile LC issue resolution, updating permissions, data     $475.00      $1,425.00
                                                                          tabulations
11/13/2020   Murray, Makeda           0.6   Data Gathering & Processing   Call with KCIC - Hanke, Klauck, Green, Azer, Linder,          $475.00        $285.00
                                                                          Evans
11/13/2020   Murray, Makeda           0.9   Data Gathering & Processing   POC data processing for the claim file review team            $475.00        $427.50
11/13/2020   Murray, Makeda           1.8   Data Gathering & Processing   ShareFile LC upload, communications to councils               $475.00        $855.00
11/13/2020   Murray, Makeda           1.4   Analysis                      Review weekly tabulations                                     $475.00        $665.00
11/13/2020   Murray, Makeda           0.2   Analysis                      Weekly tabulations review                                     $475.00         $95.00
11/13/2020   Murray, Makeda           1.2   Data Gathering & Processing   Resolution of ShareFile issues, updating access               $475.00        $570.00
                                                                          permissions for the local councils
11/13/2020   Scarpignato, Curtis      0.3   Claim File Review             Spreadsheet review                                            $195.00         $58.50
11/13/2020   Scarpignato, Curtis      0.8   Claim File Review             Claim file review                                             $195.00        $156.00
11/13/2020   Wang, Derrick            1.3   Data Gathering & Processing   Processing date and location fields in POC claims data        $345.00        $448.50
11/13/2020   Wang, Derrick            2.4   Data Gathering & Processing   Updating processing of key claim fields in POC data           $345.00        $828.00
11/13/2020   Wang, Derrick            0.3   Data Gathering & Processing   Reviewing procedures for processing POC data                  $345.00        $103.50
11/13/2020   Wang, Derrick            2.2   Data Gathering & Processing   Processing local council info in claims data                  $345.00        $759.00
11/13/2020   Wang, Derrick            1.5   Data Gathering & Processing   Standardizing POC data fields for claim review                $345.00        $517.50
11/14/2020   Johnson, Samantha        1.5   Claim File Review             Review of POC coding progress                                 $475.00        $712.50
11/14/2020   Linden, Annika           1.2   Claim File Review             Worked on file POC44                                          $195.00        $234.00
11/14/2020   Scarpignato, Curtis      0.8   Claim File Review             Review team updates                                           $195.00        $156.00
11/14/2020   Scarpignato, Curtis      0.3   Claim File Review             Spreadsheet review                                            $195.00         $58.50
11/14/2020   Scarpignato, Curtis      0.9   Claim File Review             POC file review                                               $195.00        $175.50
11/14/2020   Scarpignato, Curtis      1.1   Claim File Review             POC file review- cont'd                                       $195.00        $214.50
11/15/2020   Evans, Andrew            0.6   Data Gathering & Processing   Additional review of latest POC submission data               $725.00        $435.00
11/15/2020   Evans, Andrew            0.2   Analysis                      Updated interim figures to Matt and Adrian per request        $725.00        $145.00
11/15/2020   French, Eli              1.5   Claim File Review             Continued working on Excel file 46                            $195.00        $292.50
11/15/2020   Gelfand, Mike            1.3   Claim File Review             Excel file 45 review                                          $195.00        $253.50
11/15/2020   Gelfand, Mike            2.0   Claim File Review             Spreadsheet review                                            $195.00        $390.00
11/15/2020   Murray, Makeda           2.6   Analysis                      Review summary tabulations, ShareFile upload to various       $475.00      $1,235.00
                                                                          parties
11/15/2020   Murray, Makeda           1.0   Analysis                      Summary tabulations QC                                        $475.00        $475.00




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  Date                                                                                                                                             Professional
                 Employee          Hours               Category                                       Notes                            Bill rate
incurred                                                                                                                                               fees
11/15/2020   Scarpignato, Curtis      1.1   Claim File Review             Spreadsheet review                                             $195.00        $214.50
11/16/2020   Evans, Andrew            0.5   Project Management            Organization of case work streams                              $725.00        $362.50
11/16/2020   Evans, Andrew            0.2   Communication with            Review and response to latest email inquiries from counsel     $725.00        $145.00
                                            Counsel
11/16/2020   Evans, Andrew            1.0   Data Gathering & Processing   Work on claims normalization/standardization process           $725.00        $725.00
11/16/2020   Evans, Andrew            0.5   Communication with            Update call with Murray; Andolina; and Linder                  $725.00        $362.50
                                            Counsel
11/16/2020   Evans, Andrew            0.5   Data Gathering & Processing   Additional work on claims normalization                        $725.00        $362.50
11/16/2020   Evans, Andrew            0.2   Data Gathering & Processing   Review of forms and detailed data related to select claims     $725.00        $145.00
11/16/2020   Farrell, Emma            1.2   Claim File Review             POC review- Excel file 36                                      $345.00        $414.00
11/16/2020   Farrell, Emma            1.3   Data Gathering & Processing   Write script to flag claims implicating specific groups        $345.00        $448.50
11/16/2020   Farrell, Emma            1.4   Data Gathering & Processing   Write script to append reviewed POC workbooks                  $345.00        $483.00
11/16/2020   Farrell, Emma            0.7   Analysis                      QC tabulations scripts ; add code to generate additional       $345.00        $241.50
                                                                          distributions & workbooks
11/16/2020   Farrell, Emma            0.6   Data Gathering & Processing   Standardize reviewed POC workbooks for appending               $345.00        $207.00
11/16/2020   Farrell, Emma            0.5   Data Gathering & Processing   Determine next steps for appending reviewed POC                $345.00        $172.50
                                                                          workbooks and obtaining tabulations
11/16/2020   Farrell, Emma            1.8   Data Gathering & Processing   Write script to clean reviewed POC dataset                     $345.00        $621.00
11/16/2020   French, Eli              1.6   Claim File Review             Reviewing Excel file 46                                        $195.00        $312.00
11/16/2020   French, Eli              1.0   Claim File Review             Claim file review- excel file 46                               $195.00        $195.00
11/16/2020   French, Eli              1.3   Claim File Review             Finished excel file 46                                         $195.00        $253.50
11/16/2020   French, Eli              1.6   Claim File Review             Worked on Excel file 52                                        $195.00        $312.00
11/16/2020   French, Eli              2.3   Claim File Review             Continued work on Excel file 52                                $195.00        $448.50
11/16/2020   French, Eli              2.1   Claim File Review             Continued work on Excel file 52                                $195.00        $409.50
11/16/2020   Gelfand, Mike            1.2   Claim File Review             Spreadsheet review                                             $195.00        $234.00
11/16/2020   Gelfand, Mike            2.7   Claim File Review             Continued spreadsheet review                                   $195.00        $526.50
11/16/2020   Gelfand, Mike            0.9   Claim File Review             Claim file review                                              $195.00        $175.50
11/16/2020   Gelfand, Mike            1.1   Claim File Review             Continued claim file review                                    $195.00        $214.50
11/16/2020   Gelfand, Mike            1.9   Claim File Review             Review of claims data files                                    $195.00        $370.50
11/16/2020   Gelfand, Mike            0.2   Claim File Review             Continued spreadsheet review                                   $195.00         $39.00
11/16/2020   Johnson, Samantha        3.2   Claim File Review             POC coding review                                              $475.00      $1,520.00
11/16/2020   Johnson, Samantha        0.4   Data Gathering & Processing   Data processing update for POC coding                          $475.00        $190.00
11/16/2020   Johnson, Samantha        1.5   Claim File Review             QC of POC coding data extracts                                 $475.00        $712.50
11/16/2020   Jones, Alyssa            3.0   Claim File Review             Formatting POC claim data                                      $195.00        $585.00
11/16/2020   Jones, Alyssa            2.0   Claim File Review             Continued formatting of POC extract data                       $195.00        $390.00
11/16/2020   Jones, Alyssa            1.5   Claim File Review             Coding POC data                                                $195.00        $292.50
11/16/2020   Jones, Alyssa            2.5   Claim File Review             Reviewing POC data                                             $195.00        $487.50
11/16/2020   Linden, Annika           3.0   Claim File Review             Worked on POC44                                                $195.00        $585.00
11/16/2020   Linden, Annika           3.0   Claim File Review             Worked on POC44- continued                                     $195.00        $585.00
11/16/2020   Linden, Annika           1.0   Claim File Review             Finished review POC 44                                         $195.00        $195.00
11/16/2020   Linden, Annika           2.3   Claim File Review             Started working on POC53                                       $195.00        $448.50
11/16/2020   Murray, Makeda           0.3   Project Management            BSA work stream planning and scheduling                        $475.00        $142.50
11/16/2020   Murray, Makeda           0.4   Data Gathering & Processing   Communications with counsel and interested parties re:         $475.00        $190.00
                                                                          local council and sponsoring organization data work
                                                                          streams
11/16/2020   Murray, Makeda           0.5   Data Gathering & Processing   Email team re: weekly tabulations QC/updates, and              $475.00        $237.50
                                                                          sponsoring organization data work streams
11/16/2020   Murray, Makeda           0.8   Data Gathering & Processing   Review TCC data request                                        $475.00        $380.00




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  Date                                                                                                                                              Professional
                 Employee          Hours               Category                                       Notes                             Bill rate
incurred                                                                                                                                                fees
11/16/2020   Murray, Makeda           3.0   Data Gathering & Processing   Update system contact list for local councils in ShareFile,     $475.00      $1,425.00
                                                                          review LC feedback
11/16/2020   Murray, Makeda           0.4   Data Gathering & Processing   POC review team data update                                     $475.00        $190.00
11/16/2020   Murray, Makeda           1.0   Data Gathering & Processing   Prep for BSA claims normalization mediation                     $475.00        $475.00
11/16/2020   Murray, Makeda           0.5   Communication with            Call with counsel re BSA claims normalization mediation,        $475.00        $237.50
                                            Counsel                       other BSA work streams- attended by Andolina, Linder,
                                                                          and Evans
11/16/2020   Murray, Makeda           1.3   Data Gathering & Processing   Local council work stream: review LC responses, contact         $475.00        $617.50
                                                                          updates in SF system
11/16/2020   Murray, Makeda           2.6   Data Gathering & Processing   Compare and cross-reference insurer access documents            $475.00      $1,235.00
                                                                          with signed agreements, send insurer contacts claims
                                                                          information through ShareFile
11/16/2020   Murray, Makeda           1.8   Data Gathering & Processing   Review TCC request, update with BW-specific processing          $475.00        $855.00
                                                                          info
11/16/2020   Scarpignato, Curtis      2.5   Claim File Review             POC review                                                      $195.00        $487.50
11/16/2020   Scarpignato, Curtis      0.7   Claim File Review             Spreadsheet review                                              $195.00        $136.50
11/16/2020   Scarpignato, Curtis      0.7   Claim File Review             Spreadsheet review- cont'd                                      $195.00        $136.50
11/16/2020   Wang, Derrick            0.5   Data Gathering & Processing   Reviewing standardization of key fields in POC data             $345.00        $172.50
11/16/2020   Wang, Derrick            1.4   Data Gathering & Processing   QC and update documentation for POC data processing             $345.00        $483.00
11/16/2020   Wang, Derrick            2.3   Data Gathering & Processing   Standardizing abuse date fields in POC data                     $345.00        $793.50
11/16/2020   Wang, Derrick            1.9   Data Gathering & Processing   Standardizing claimant biographical fields in POC data          $345.00        $655.50
11/16/2020   Wang, Derrick            2.5   Data Gathering & Processing   Standardizing POC data fields for tabulation                    $345.00        $862.50
11/17/2020   Ameri, Armin             2.0   Data Gathering & Processing   Reviewing case updates and implementing local council           $370.00        $740.00
                                                                          updates
11/17/2020   Evans, Andrew            0.3   Project Management            Update to case team                                             $725.00        $217.50
11/17/2020   Evans, Andrew            0.3   Data Gathering & Processing   Continued prep for upcoming mediation meeting on data           $725.00        $217.50
                                                                          normalization
11/17/2020   Evans, Andrew            0.5   Data Gathering & Processing   Review of current draft data and plan around next steps for     $725.00        $362.50
                                                                          processing
11/17/2020   Evans, Andrew            0.5   Data Gathering & Processing   Refinements to data normalization/standardization work          $725.00        $362.50
11/17/2020   Evans, Andrew            0.4   Project Management            Updates to work plan and task list; related case                $725.00        $290.00
                                                                          management
11/17/2020   Evans, Andrew            2.0   Data Gathering & Processing   Additional work on data normalization/standardization;          $725.00      $1,450.00
                                                                          prep for mediation meeting to discuss standardization
11/17/2020   Farrell, Emma            1.3   Data Gathering & Processing   Write script to clean CFR dataset                               $345.00        $448.50
11/17/2020   Farrell, Emma            2.1   Analysis                      Write script to generate summary tabulations for CFR            $345.00        $724.50
                                                                          dataset
11/17/2020   Farrell, Emma            0.3   Data Gathering & Processing   Determine next steps for POC claim file review                  $345.00        $103.50
11/17/2020   Farrell, Emma            1.2   Data Gathering & Processing   Add LC cleaning code to CFR dataset cleaning script             $345.00        $414.00
11/17/2020   Farrell, Emma            1.3   Analysis                      QC tabulations for CFR dataset                                  $345.00        $448.50
11/17/2020   Farrell, Emma            0.5   Data Gathering & Processing   Add additional law firm name cleaning code to CFR               $345.00        $172.50
                                                                          dataset cleaning script
11/17/2020   French, Eli              3.9   Claim File Review             Reviewed Excel file 54                                          $195.00        $760.50
11/17/2020   French, Eli              1.1   Claim File Review             Reviewed Excel file 54                                          $195.00        $214.50
11/17/2020   French, Eli              2.8   Claim File Review             Completed review of Excel file 54                               $195.00        $546.00
11/17/2020   French, Eli              0.4   Claim File Review             Started Excel file 57                                           $195.00         $78.00
11/17/2020   Gelfand, Mike            2.2   Claim File Review             Spreadsheet review                                              $195.00        $429.00
11/17/2020   Gelfand, Mike            1.7   Claim File Review             Spreadsheet review- contd                                       $195.00        $331.50
11/17/2020   Gelfand, Mike            2.5   Claim File Review             Reviewing POC data                                              $195.00        $487.50
11/17/2020   Gelfand, Mike            1.4   Claim File Review             Reviewed POC data                                               $195.00        $273.00
11/17/2020   Gelfand, Mike            0.2   Claim File Review             Continued spreadsheet review                                    $195.00         $39.00
11/17/2020   Johnson, Samantha        3.5   Claim File Review             Review of POC data for coding                                   $475.00      $1,662.50
11/17/2020   Johnson, Samantha        2.3   Claim File Review             Continue POC coding                                             $475.00      $1,092.50




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  Date                                                                                                                                             Professional
                 Employee          Hours               Category                                        Notes                           Bill rate
incurred                                                                                                                                               fees
11/17/2020   Johnson, Samantha        0.4   Claim File Review             Review of progress on POC coding                               $475.00        $190.00
11/17/2020   Jones, Alyssa            2.0   Claim File Review             Reviewing POC data                                             $195.00        $390.00
11/17/2020   Jones, Alyssa            0.3   Claim File Review             Review case progress, work plan                                $195.00         $58.50
11/17/2020   Jones, Alyssa            1.4   Claim File Review             Coding POC extract data                                        $195.00        $273.00
11/17/2020   Jones, Alyssa            2.6   Claim File Review             Continued coding of POC extract data                           $195.00        $507.00
11/17/2020   Jones, Alyssa            2.3   Claim File Review             Continued review of POC data                                   $195.00        $448.50
11/17/2020   Linden, Annika           3.0   Claim File Review             Review POC53                                                   $195.00        $585.00
11/17/2020   Linden, Annika           3.0   Claim File Review             Review POC53- continued                                        $195.00        $585.00
11/17/2020   Linden, Annika           2.0   Claim File Review             Finished up POC53                                              $195.00        $390.00
11/17/2020   Linden, Annika           1.0   Claim File Review             Started working on POC58                                       $195.00        $195.00
11/17/2020   Murray, Makeda           2.1   Data Gathering & Processing   Update insurer permissions in ShareFile, provide access to     $475.00        $997.50
                                                                          claims data
11/17/2020   Murray, Makeda           0.2   Data Gathering & Processing   Bar date claims filing update                                  $475.00         $95.00
11/17/2020   Murray, Makeda           0.5   Data Gathering & Processing   POC data processing- local council translation, and other      $475.00        $237.50
                                                                          updates
11/17/2020   Murray, Makeda           0.5   Data Gathering & Processing   BSA work stream update, follow up with team                    $475.00        $237.50
11/17/2020   Murray, Makeda           2.8   Data Gathering & Processing   Review local council claims responses for incorporation        $475.00      $1,330.00
                                                                          into process, update ShareFile permissions
11/17/2020   Murray, Makeda           1.3   Data Gathering & Processing   Review and update claims data processing document for          $475.00        $617.50
                                                                          use in mediation
11/17/2020   Scarpignato, Curtis      1.7   Claim File Review             Claim file review                                              $195.00        $331.50
11/17/2020   Scarpignato, Curtis      0.8   Claim File Review             Continue claim file review                                     $195.00        $156.00
11/17/2020   Scarpignato, Curtis      0.2   Claim File Review             Claim file review- cont'd                                      $195.00         $39.00
11/17/2020   Scarpignato, Curtis      1.4   Claim File Review             POC file review                                                $195.00        $273.00
11/17/2020   Scarpignato, Curtis      0.2   Claim File Review             Update on case progress, timeline                              $195.00         $39.00
11/17/2020   Scarpignato, Curtis      1.0   Claim File Review             POC file review                                                $195.00        $195.00
11/17/2020   Scarpignato, Curtis      1.2   Claim File Review             POC file review- cont'd                                        $195.00        $234.00
11/17/2020   Scarpignato, Curtis      2.0   Claim File Review             Review POC files                                               $195.00        $390.00
11/17/2020   Shipp, Kory              0.4   Data Gathering & Processing   Post-bar date update                                           $475.00        $190.00
11/17/2020   Shipp, Kory              0.5   Data Gathering & Processing   Review Omni data processing scripts                            $475.00        $237.50
11/17/2020   Shipp, Kory              1.0   Data Gathering & Processing   Review of scripts for processing Omni data                     $475.00        $475.00
11/17/2020   Wang, Derrick            0.4   Data Gathering & Processing   Reviewing next steps for POC processing                        $345.00        $138.00
11/17/2020   Wang, Derrick            2.3   Data Gathering & Processing   QC standardization of claims-level fields in POC data          $345.00        $793.50
11/17/2020   Wang, Derrick            1.2   Analysis                      Review and QC tabulation of key fields in POC data             $345.00        $414.00
11/17/2020   Wang, Derrick            0.9   Data Gathering & Processing   Updating and QC claims data by local council                   $345.00        $310.50
11/18/2020   Ameri, Armin             2.0   Data Gathering & Processing   Implementing local council updates                             $370.00        $740.00
11/18/2020   Ameri, Armin             1.5   Data Gathering & Processing   Processing new batch claims data                               $370.00        $555.00
11/18/2020   Evans, Andrew            0.9   Data Gathering & Processing   Review and updates to standardization field list; related      $725.00        $652.50
                                                                          prep for mediation session
11/18/2020   Evans, Andrew            0.2   Data Gathering & Processing   Plan for coordinating LC feedback on data                      $725.00        $145.00
11/18/2020   Evans, Andrew            2.2   Settlement Mediation &        Mediation session on data standardization                      $725.00      $1,595.00
                                            Support
11/18/2020   Evans, Andrew            0.3   Communication with            Calls with Andolina                                            $725.00        $217.50
                                            Counsel
11/18/2020   Evans, Andrew            0.9   Data Gathering & Processing   Continued review of materials and prep for mediation           $725.00        $652.50
                                                                          session on data
11/18/2020   Evans, Andrew            0.5   Data Gathering & Processing   Review of select submissions                                   $725.00        $362.50
11/18/2020   Farrell, Emma            1.0   Analysis                      QC previous tabulations scripts and workbooks; prepare         $345.00        $345.00
                                                                          deliverable versions




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  Date                                                                                                                                           Professional
                 Employee          Hours               Category                                      Notes                           Bill rate
incurred                                                                                                                                             fees
11/18/2020   Farrell, Emma            2.1   Analysis                      Update tabulation fields cleaning script for most recent     $345.00        $724.50
                                                                          Omni dataset; generate tabulations for most recent Omni
                                                                          dataset
11/18/2020   Farrell, Emma            1.6   Analysis                      QC current tabulations workbooks; prepare deliverables       $345.00        $552.00
11/18/2020   Farrell, Emma            2.5   Data Gathering & Processing   QC law firm name cleaning code; add additional cleaning      $345.00        $862.50
                                                                          steps to tabulations scripts
11/18/2020   French, Eli              3.0   Claim File Review             Excel file 57 review                                         $195.00        $585.00
11/18/2020   French, Eli              0.9   Claim File Review             Excel file 57 review- cont'd                                 $195.00        $175.50
11/18/2020   French, Eli              2.0   Claim File Review             Started cleaning excel file 61                               $195.00        $390.00
11/18/2020   French, Eli              1.7   Claim File Review             Spreadsheet review- file 57                                  $195.00        $331.50
11/18/2020   French, Eli              2.2   Claim File Review             Completed Excel file 57                                      $195.00        $429.00
11/18/2020   Gelfand, Mike            0.6   Claim File Review             Claim file review                                            $195.00        $117.00
11/18/2020   Gelfand, Mike            3.3   Claim File Review             Continued claim file review                                  $195.00        $643.50
11/18/2020   Gelfand, Mike            1.3   Claim File Review             Spreadsheet review                                           $195.00        $253.50
11/18/2020   Gelfand, Mike            1.2   Claim File Review             Reviewing POC data                                           $195.00        $234.00
11/18/2020   Gelfand, Mike            1.4   Claim File Review             Review of claims data files                                  $195.00        $273.00
11/18/2020   Gelfand, Mike            0.6   Claim File Review             Continued claim file review                                  $195.00        $117.00
11/18/2020   Johnson, Samantha        2.7   Claim File Review             Review of POC coding                                         $475.00      $1,282.50
11/18/2020   Johnson, Samantha        2.9   Claim File Review             Continue POC coding                                          $475.00      $1,377.50
11/18/2020   Jones, Alyssa            2.0   Claim File Review             Inputting POC claim data                                     $195.00        $390.00
11/18/2020   Jones, Alyssa            3.0   Claim File Review             Formatting POC extract data                                  $195.00        $585.00
11/18/2020   Jones, Alyssa            3.0   Claim File Review             Reviewing POC data                                           $195.00        $585.00
11/18/2020   Jones, Alyssa            1.0   Claim File Review             Continued review of POC data                                 $195.00        $195.00
11/18/2020   Linden, Annika           3.0   Claim File Review             Worked on POC58                                              $195.00        $585.00
11/18/2020   Linden, Annika           3.2   Claim File Review             Continued work on POC58                                      $195.00        $624.00
11/18/2020   Linden, Annika           3.2   Claim File Review             POC58 file review                                            $195.00        $624.00
11/18/2020   Murray, Makeda           0.5   Data Gathering & Processing   Data processing document for mediation purposes              $475.00        $237.50
11/18/2020   Murray, Makeda           1.1   Data Gathering & Processing   Standardization list for mediation session on claims         $475.00        $522.50
                                                                          normalization
11/18/2020   Murray, Makeda           1.5   Data Gathering & Processing   LC ShareFile updates, inquiries from interested parties      $475.00        $712.50
11/18/2020   Murray, Makeda           0.5   Data Gathering & Processing   BSA data processing review                                   $475.00        $237.50
11/18/2020   Murray, Makeda           2.2   Settlement Mediation &        Mediation session on claims normalization                    $475.00      $1,045.00
                                            Support
11/18/2020   Murray, Makeda           1.9   Data Gathering & Processing   Prep for mediation session, sample data review               $475.00        $902.50
11/18/2020   Murray, Makeda           1.0   Data Gathering & Processing   Data work stream review, LC ShareFile permissions            $475.00        $475.00
11/18/2020   Murray, Makeda           1.3   Data Gathering & Processing   Template for LC review and feedback                          $475.00        $617.50
11/18/2020   Scarpignato, Curtis      2.0   Claim File Review             Continue reviewing POC files                                 $195.00        $390.00
11/18/2020   Scarpignato, Curtis      0.5   Claim File Review             Claim file review                                            $195.00         $97.50
11/18/2020   Scarpignato, Curtis      1.5   Claim File Review             Claim file review- contd                                     $195.00        $292.50
11/18/2020   Scarpignato, Curtis      0.9   Claim File Review             Continue claims file review                                  $195.00        $175.50
11/18/2020   Scarpignato, Curtis      1.6   Claim File Review             POC review                                                   $195.00        $312.00
11/18/2020   Scarpignato, Curtis      2.0   Claim File Review             Cont'd POC review                                            $195.00        $390.00
11/18/2020   Scarpignato, Curtis      2.0   Claim File Review             Review POC files                                             $195.00        $390.00
11/18/2020   Shipp, Kory              1.0   Analysis                      LDS claims analysis review                                   $475.00        $475.00
11/18/2020   Shipp, Kory              1.0   Data Gathering & Processing   Omni data processing QC                                      $475.00        $475.00
11/18/2020   Shipp, Kory              0.5   Analysis                      Review LDS claims request                                    $475.00        $237.50
11/18/2020   Wang, Derrick            2.1   Data Gathering & Processing   Updating local council POC data processing                   $345.00        $724.50




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  Date                                                                                                                                           Professional
                 Employee        Hours               Category                                      Notes                             Bill rate
incurred                                                                                                                                             fees
11/18/2020   Wang, Derrick          1.8   Data Gathering & Processing   Processing updated POC data for claim review                   $345.00        $621.00
11/18/2020   Wang, Derrick          1.6   Data Gathering & Processing   QC and update POC date field standardization                   $345.00        $552.00
11/18/2020   Wang, Derrick          1.5   Data Gathering & Processing   Review and standardize POC data biographical fields            $345.00        $517.50
11/19/2020   Ameri, Armin           0.6   Data Gathering & Processing   Reviewing case data updates                                    $370.00        $222.00
11/19/2020   Ameri, Armin           2.5   Data Gathering & Processing   Updating local council translations and data cleaning          $370.00        $925.00
11/19/2020   Evans, Andrew          0.5   Communication with            Call with Warner and Murray on plan for LC claims              $725.00        $362.50
                                          Counsel                       feedback
11/19/2020   Evans, Andrew          0.6   Data Gathering & Processing   Continued work on LC data feedback plan                        $725.00        $435.00
11/19/2020   Evans, Andrew          0.3   Data Gathering & Processing   Follow-up on claims data standardization/ normalization        $725.00        $217.50
                                                                        process input from mediation call
11/19/2020   Evans, Andrew          0.7   Project Management            Project management; task organization; updates to team         $725.00        $507.50
11/19/2020   Evans, Andrew          0.5   Analysis                      Update on preliminary tabulations and consideration of         $725.00        $362.50
                                                                        same
11/19/2020   Evans, Andrew          1.6   Data Gathering & Processing   Review of follow-on requests related to data                   $725.00      $1,160.00
                                                                        standardization and normalization; preliminary evaluation
                                                                        of feasibility of same
11/19/2020   Farrell, Emma          0.8   Data Gathering & Processing   Refine law firm name cleaning steps in tabulations scripts     $345.00        $276.00
                                                                        for updated Omni download
11/19/2020   Farrell, Emma          1.0   Data Gathering & Processing   Refine year cleaning code for most recent Omni download        $345.00        $345.00
11/19/2020   Farrell, Emma          0.6   Data Gathering & Processing   Determine next steps for CFR and tabulations                   $345.00        $207.00
11/19/2020   Farrell, Emma          0.9   Data Gathering & Processing   Refine state cleaning code for most recent Omni download       $345.00        $310.50
11/19/2020   Farrell, Emma          1.6   Analysis                      Update tabulations script for most recent Omni download        $345.00        $552.00
11/19/2020   Farrell, Emma          0.8   Analysis                      Refine code to flag missing key fields for most recent         $345.00        $276.00
                                                                        Omni download
11/19/2020   Farrell, Emma          0.4   Analysis                      Refine and update LDS analysis for most recent Omni            $345.00        $138.00
                                                                        download
11/19/2020   Farrell, Emma          2.2   Analysis                      Generate and QC tabulations workbook for most recent           $345.00        $759.00
                                                                        Omni download
11/19/2020   Farrell, Emma          0.9   Analysis                      Prepare most recent tabulations workbooks for delivery         $345.00        $310.50
11/19/2020   Farrell, Emma          0.6   Analysis                      Tabulate counts of prison numbers and facilities               $345.00        $207.00
11/19/2020   French, Eli            3.1   Claim File Review             Reviewed Excel file 65                                         $195.00        $604.50
11/19/2020   French, Eli            0.8   Claim File Review             Cont'd review of Excel file 65                                 $195.00        $156.00
11/19/2020   French, Eli            1.7   Claim File Review             Completed Excel file 61                                        $195.00        $331.50
11/19/2020   French, Eli            3.9   Claim File Review             Completed Excel file 65                                        $195.00        $760.50
11/19/2020   Gelfand, Mike          3.9   Claim File Review             Spreadsheet review                                             $195.00        $760.50
11/19/2020   Gelfand, Mike          1.8   Claim File Review             Claim file review                                              $195.00        $351.00
11/19/2020   Gelfand, Mike          2.1   Claim File Review             Claim file review- contd                                       $195.00        $409.50
11/19/2020   Gelfand, Mike          0.2   Claim File Review             Continued claim file review                                    $195.00         $39.00
11/19/2020   Johnson, Samantha      2.5   Claim File Review             POC coding                                                     $475.00      $1,187.50
11/19/2020   Johnson, Samantha      1.3   Claim File Review             Review of POC coding                                           $475.00        $617.50
11/19/2020   Jones, Alyssa          3.0   Claim File Review             Continued POC data coding                                      $195.00        $585.00
11/19/2020   Jones, Alyssa          1.0   Claim File Review             Review case updates                                            $195.00        $195.00
11/19/2020   Jones, Alyssa          1.5   Claim File Review             Reviewing POC data                                             $195.00        $292.50
11/19/2020   Jones, Alyssa          2.0   Claim File Review             Formatting POC extract data                                    $195.00        $390.00
11/19/2020   Jones, Alyssa          1.0   Claim File Review             Coding POC data                                                $195.00        $195.00
11/19/2020   Linden, Annika         1.5   Claim File Review             Finished POC 58                                                $195.00        $292.50
11/19/2020   Linden, Annika         3.0   Claim File Review             Started working on POC64                                       $195.00        $585.00
11/19/2020   Linden, Annika         0.5   Claim File Review             Review case updates, completion schedule                       $195.00         $97.50
11/19/2020   Linden, Annika         3.0   Claim File Review             Worked on POC64                                                $195.00        $585.00
11/19/2020   Linden, Annika         1.5   Claim File Review             Continued work on POC64                                        $195.00        $292.50




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  Date                                                                                                                                              Professional
                 Employee          Hours               Category                                      Notes                              Bill rate
incurred                                                                                                                                                fees
11/19/2020   Murray, Makeda           0.8   Data Gathering & Processing   Local council feedback template                                 $475.00        $380.00
11/19/2020   Murray, Makeda           0.5   Communication with            Call with Warner and Evans re: local council feedback           $475.00        $237.50
                                            Counsel                       template
11/19/2020   Murray, Makeda           0.6   Data Gathering & Processing   Omni ShareVault download, Local council feedback and            $475.00        $285.00
                                                                          ShareFile access issue resolution
11/19/2020   Murray, Makeda           0.7   Data Gathering & Processing   BSA case update                                                 $475.00        $332.50
11/19/2020   Murray, Makeda           0.5   Data Gathering & Processing   Review updates on LDS claims, local council template            $475.00        $237.50
                                                                          updates
11/19/2020   Murray, Makeda           1.4   Data Gathering & Processing   Review updated Local council files                              $475.00        $665.00
11/19/2020   Murray, Makeda           1.8   Data Gathering & Processing   Local council and territory transfer document review,           $475.00        $855.00
                                                                          review claims-related correspondence from interested
                                                                          parties
11/19/2020   Scarpignato, Curtis      2.1   Claim File Review             Spreadsheet review                                              $195.00        $409.50
11/19/2020   Scarpignato, Curtis      1.8   Claim File Review             Spreadsheet review- cont'd                                      $195.00        $351.00
11/19/2020   Scarpignato, Curtis      0.8   Claim File Review             Continue spreadsheet review                                     $195.00        $156.00
11/19/2020   Scarpignato, Curtis      0.7   Claim File Review             Review timeline, deliverables                                   $195.00        $136.50
11/19/2020   Scarpignato, Curtis      0.4   Claim File Review             Review POC files                                                $195.00         $78.00
11/19/2020   Scarpignato, Curtis      2.7   Claim File Review             Claim file review                                               $195.00        $526.50
11/19/2020   Scarpignato, Curtis      1.6   Claim File Review             POC file review                                                 $195.00        $312.00
11/19/2020   Wang, Derrick            0.6   Data Gathering & Processing   Reviewing data updates and next steps                           $345.00        $207.00
11/19/2020   Wang, Derrick            2.0   Data Gathering & Processing   Review and QC local council fields in POC data                  $345.00        $690.00
11/19/2020   Wang, Derrick            1.2   Data Gathering & Processing   Update processing of local council fields in POC data           $345.00        $414.00
11/19/2020   Wang, Derrick            2.3   Analysis                      QC and update tabulations of POC state and year data            $345.00        $793.50
11/19/2020   Wang, Derrick            1.9   Data Gathering & Processing   QC and update standardization of POC data                       $345.00        $655.50
11/20/2020   Ameri, Armin             2.6   Data Gathering & Processing   Adjusting local council translations                            $370.00        $962.00
11/20/2020   Ameri, Armin             2.1   Data Gathering & Processing   Creating new batch of local council files, syncing to           $370.00        $777.00
                                                                          ShareFile
11/20/2020   Evans, Andrew            1.3   Data Gathering & Processing   Call with Murray; counsel and insurance group                   $725.00        $942.50
11/20/2020   Evans, Andrew            1.0   Data Gathering & Processing   Call with Murray; White & Case; and client about LC             $725.00        $725.00
                                                                          feedback template
11/20/2020   Evans, Andrew            1.0   Data Gathering & Processing   Work with Murray; Azer; Martin and KCIC on insurance            $725.00        $725.00
                                                                          data needs
11/20/2020   Evans, Andrew            0.8   Analysis                      Review of materials in prep for insurer call; consideration     $725.00        $580.00
                                                                          of potential data validation analyses
11/20/2020   Evans, Andrew            0.5   Analysis                      Additional planning around potential data validation            $725.00        $362.50
                                                                          analyses
11/20/2020   Evans, Andrew            0.2   Communication with            Call with Andolina                                              $725.00        $145.00
                                            Counsel
11/20/2020   Farrell, Emma            2.1   Analysis                      QC and prepare weekly tabulations workbooks for delivery        $345.00        $724.50
11/20/2020   Farrell, Emma            2.5   Analysis                      Generate and QC tabulations for most recent LC cleaning         $345.00        $862.50
                                                                          file
11/20/2020   Farrell, Emma            0.6   Analysis                      Refine key field cleaning in tabulations scripts                $345.00        $207.00
11/20/2020   Farrell, Emma            0.5   Data Gathering & Processing   Refine ssn cleaning in tabulations scripts                      $345.00        $172.50
11/20/2020   Farrell, Emma            2.2   Analysis                      Refine year extraction code                                     $345.00        $759.00
11/20/2020   Farrell, Emma            0.6   Analysis                      Standardize missing/unknown years in tabulations cleaning       $345.00        $207.00
                                                                          code
11/20/2020   French, Eli              0.7   Claim File Review             Review Excel file 69                                            $195.00        $136.50
11/20/2020   French, Eli              1.2   Claim File Review             Spreadsheet review Excel file 69                                $195.00        $234.00
11/20/2020   French, Eli              2.0   Claim File Review             Spreadsheet review Excel file 69- continued                     $195.00        $390.00
11/20/2020   French, Eli              2.4   Claim File Review             Review Excel file 69- continued                                 $195.00        $468.00
11/20/2020   French, Eli              1.3   Claim File Review             Spreadsheet review Excel file 69- continued                     $195.00        $253.50
11/20/2020   French, Eli              0.2   Claim File Review             Claim file review                                               $195.00         $39.00




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  Date                                                                                                                                            Professional
                 Employee          Hours               Category                                        Notes                          Bill rate
incurred                                                                                                                                              fees
11/20/2020   French, Eli              0.2   Claim File Review             Started to clean excel file 71                                $195.00         $39.00
11/20/2020   Gelfand, Mike            1.9   Claim File Review             Claim file review                                             $195.00        $370.50
11/20/2020   Gelfand, Mike            2.0   Claim File Review             Spreadsheet review                                            $195.00        $390.00
11/20/2020   Gelfand, Mike            1.5   Claim File Review             Continued claim file review                                   $195.00        $292.50
11/20/2020   Gelfand, Mike            2.4   Claim File Review             Reviewing POC data                                            $195.00        $468.00
11/20/2020   Gelfand, Mike            0.2   Claim File Review             Spreadsheet review                                            $195.00         $39.00
11/20/2020   Jones, Alyssa            2.5   Claim File Review             Coding POC extract data                                       $195.00        $487.50
11/20/2020   Jones, Alyssa            2.5   Claim File Review             Formatting POC data                                           $195.00        $487.50
11/20/2020   Jones, Alyssa            1.6   Claim File Review             Inputting POC extract data                                    $195.00        $312.00
11/20/2020   Jones, Alyssa            1.4   Claim File Review             Reviewing POC claim data                                      $195.00        $273.00
11/20/2020   Jones, Alyssa            0.8   Claim File Review             Continued formatting of POC data                              $195.00        $156.00
11/20/2020   Linden, Annika           2.0   Claim File Review             Finished POC64                                                $195.00        $390.00
11/20/2020   Linden, Annika           3.0   Claim File Review             Started POC70                                                 $195.00        $585.00
11/20/2020   Linden, Annika           3.8   Claim File Review             Worked on POC70                                               $195.00        $741.00
11/20/2020   Linden, Annika           2.0   Claim File Review             Review POC70- contd                                           $195.00        $390.00
11/20/2020   Murray, Makeda           0.8   Data Gathering & Processing   Weekly tabulations, local council updates review, sync to     $475.00        $380.00
                                                                          ShareFile
11/20/2020   Murray, Makeda           1.0   Data Gathering & Processing   Weekly call with KCIC- Azer, Hanke, Klauck, Sochurek,         $475.00        $475.00
                                                                          Martin, Green, and Evans
11/20/2020   Murray, Makeda           1.0   Data Gathering & Processing   Call re: local council template/information request-          $475.00        $475.00
                                                                          attended by McGowan, Steppe, Trevino, Nichols, Waters,
                                                                          Challa, Boelter, Andolina, Linder, Warner, Tuffey and
                                                                          Evans
11/20/2020   Murray, Makeda           1.3   Data Gathering & Processing   Call with insurers and Evans re: BW claims normalization      $475.00        $617.50
                                                                          and validation
11/20/2020   Murray, Makeda           0.3   Fee Request Preparation       Review Rucki fee examination report                           $475.00        $142.50
11/20/2020   Murray, Makeda           0.3   Data Gathering & Processing   Review BSA data processing work streams: local council        $475.00        $142.50
                                                                          templates, data normalization, weekly tabulations
11/20/2020   Murray, Makeda           1.6   Analysis                      Review Weekly tabulations, provide feedback to update         $475.00        $760.00
                                                                          code that generates same
11/20/2020   Murray, Makeda           0.7   Data Gathering & Processing   Update local council permissions in ShareFile, review LC-     $475.00        $332.50
                                                                          related inquiries from counsel
11/20/2020   Murray, Makeda           2.0   Analysis                      QC weekly tabulation updates, prepare deliverable             $475.00        $950.00
                                                                          versions, send to interested parties
11/20/2020   Murray, Makeda           0.8   Data Gathering & Processing   Upload additional local council permissions to ShareFile      $475.00        $380.00
11/20/2020   Scarpignato, Curtis      1.8   Claim File Review             Claim file review                                             $195.00        $351.00
11/20/2020   Scarpignato, Curtis      1.4   Claim File Review             Continue claim file review                                    $195.00        $273.00
11/20/2020   Scarpignato, Curtis      2.1   Claim File Review             Claim file review- cont'd                                     $195.00        $409.50
11/20/2020   Scarpignato, Curtis      1.4   Claim File Review             Review POC files                                              $195.00        $273.00
11/20/2020   Scarpignato, Curtis      0.8   Claim File Review             Claim file review                                             $195.00        $156.00
11/20/2020   Scarpignato, Curtis      1.5   Claim File Review             Spreadsheet review                                            $195.00        $292.50
11/20/2020   Wang, Derrick            1.9   Data Gathering & Processing   QC local council POC data processing                          $345.00        $655.50
11/20/2020   Wang, Derrick            1.3   Analysis                      Working on POC data tabulations                               $345.00        $448.50
11/20/2020   Wang, Derrick            1.6   Data Gathering & Processing   Processing POC data biographical fields for claim review      $345.00        $552.00
11/21/2020   Scarpignato, Curtis      2.2   Claim File Review             POC file review                                               $195.00        $429.00
11/21/2020   Scarpignato, Curtis      0.8   Claim File Review             POC file review- cont'd                                       $195.00        $156.00
11/21/2020   Shipp, Kory              1.5   Analysis                      QC of tabulations script                                      $475.00        $712.50
11/22/2020   Evans, Andrew            0.3   Project Management            Organizing case tasks                                         $725.00        $217.50
11/22/2020   Evans, Andrew            2.1   Data Gathering & Processing   Next steps re plan for normalization / standardization in     $725.00      $1,522.50
                                                                          response to feedback from parties; updates to plan for LC
                                                                          data feedback structure; information to counsel re same




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  Date                                                                                                                                               Professional
                 Employee          Hours               Category                                       Notes                              Bill rate
incurred                                                                                                                                                 fees
11/22/2020   Gelfand, Mike            2.5   Claim File Review             Review Excel Sheet 67                                            $195.00        $487.50
11/22/2020   Johnson, Samantha        0.6   Claim File Review             Check on progress of POC coding                                  $475.00        $285.00
11/22/2020   Jones, Alyssa            2.0   Claim File Review             Reviewing POC data                                               $195.00        $390.00
11/22/2020   Jones, Alyssa            2.0   Claim File Review             Continued Review of POC data                                     $195.00        $390.00
11/22/2020   Murray, Makeda           0.3   Data Gathering & Processing   Email team re: data next steps, review work plan                 $475.00        $142.50
11/22/2020   Murray, Makeda           0.7   Data Gathering & Processing   Review the various data work streams                             $475.00        $332.50
11/22/2020   Murray, Makeda           2.2   Data Gathering & Processing   Review BSA and counsel feedback re: Local council                $475.00      $1,045.00
                                                                          template, make revisions to same
11/22/2020   Murray, Makeda           0.9   Data Gathering & Processing   Review feedback from interested parties and update list of       $475.00        $427.50
                                                                          data variable normalizations
11/22/2020   Murray, Makeda           1.1   Data Gathering & Processing   Local council feedback template updates                          $475.00        $522.50
11/22/2020   Murray, Makeda           0.5   Data Gathering & Processing   Review SOL translation table                                     $475.00        $237.50
11/22/2020   Murray, Makeda           1.3   Data Gathering & Processing   Read additional email requests from insurers re: data            $475.00        $617.50
                                                                          standardization, send updated local counsel template to
                                                                          counsel
11/22/2020   Scarpignato, Curtis      2.2   Claim File Review             Claim file review                                                $195.00        $429.00
11/23/2020   Evans, Andrew            0.9   Data Gathering & Processing   Consideration of additional insurer requests related to data     $725.00        $652.50
                                                                          standardization and related follow-up on field list; follow-
                                                                          up on logistics of LC feedback, template, and data
                                                                          gathering;
11/23/2020   Evans, Andrew            0.2   Data Gathering & Processing   Additional input on LC template                                  $725.00        $145.00
11/23/2020   Evans, Andrew            0.5   Data Gathering & Processing   Plan for updates to data processing based on feedback from       $725.00        $362.50
                                                                          other cases parties
11/23/2020   Evans, Andrew            0.5   Analysis                      Consideration of potential data validation criteria              $725.00        $362.50
11/23/2020   Evans, Andrew            0.4   Data Gathering & Processing   Additional consideration of data standardization issues          $725.00        $290.00
                                                                          based on feedback from other case parties
11/23/2020   Farrell, Emma            1.0   Data Gathering & Processing   Refine law firm name cleaning for most recent Omni               $345.00        $345.00
                                                                          dataset
11/23/2020   Farrell, Emma            3.2   Data Gathering & Processing   Refine code to clean narrative fields and break out              $345.00      $1,104.00
                                                                          unknown allegation observations
11/23/2020   Farrell, Emma            0.5   Project Management            Clean and consolidate BSA communications folder                  $345.00        $172.50
11/23/2020   Farrell, Emma            1.4   Data Gathering & Processing   Add name cleaning code to tabulations scripts                    $345.00        $483.00
11/23/2020   Farrell, Emma            1.1   Analysis                      Refine tabulations script in preparation for most recent         $345.00        $379.50
                                                                          Omni download
11/23/2020   Farrell, Emma            0.9   Analysis                      Refine code to generate an identity flag in tabulation sript     $345.00        $310.50
11/23/2020   French, Eli              0.2   Claim File Review             Finished Excel file 71                                           $195.00         $39.00
11/23/2020   French, Eli              2.5   Claim File Review             Cleaned Excel file 77                                            $195.00        $487.50
11/23/2020   French, Eli              1.4   Claim File Review             Cleaned Excel file 77- cont'd                                    $195.00        $273.00
11/23/2020   French, Eli              3.9   Claim File Review             Reviewed Excel file 71                                           $195.00        $760.50
11/23/2020   Gelfand, Mike            2.1   Claim File Review             Review claims spreadsheet                                        $195.00        $409.50
11/23/2020   Gelfand, Mike            1.8   Claim File Review             Reviewed POC data                                                $195.00        $351.00
11/23/2020   Gelfand, Mike            0.5   Claim File Review             Spreadsheet review                                               $195.00         $97.50
11/23/2020   Gelfand, Mike            2.5   Claim File Review             Spreadsheet review- contd                                        $195.00        $487.50
11/23/2020   Gelfand, Mike            0.9   Claim File Review             Review of claims data files                                      $195.00        $175.50
11/23/2020   Gelfand, Mike            0.2   Claim File Review             Spreadsheet review- contd                                        $195.00         $39.00
11/23/2020   Johnson, Samantha        0.3   Claim File Review             Review progress on POC coding                                    $475.00        $142.50
11/23/2020   Johnson, Samantha        0.6   Project Management            Review of work plan for streamlining manual review               $475.00        $285.00
                                                                          process
11/23/2020   Jones, Alyssa            2.0   Claim File Review             Review POC data                                                  $195.00        $390.00
11/23/2020   Jones, Alyssa            3.0   Claim File Review             Continued review of POC data                                     $195.00        $585.00
11/23/2020   Jones, Alyssa            2.5   Claim File Review             Formatting POC data                                              $195.00        $487.50
11/23/2020   Jones, Alyssa            1.5   Claim File Review             Analysis of POC extract data                                     $195.00        $292.50




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  Date                                                                                                                                               Professional
                 Employee          Hours               Category                                      Notes                               Bill rate
incurred                                                                                                                                                 fees
11/23/2020   Linden, Annika           3.0   Claim File Review             Worked on POC70                                                  $195.00        $585.00
11/23/2020   Linden, Annika           1.1   Claim File Review             Finished POC70                                                   $195.00        $214.50
11/23/2020   Linden, Annika           3.0   Claim File Review             Started working on POC76                                         $195.00        $585.00
11/23/2020   Linden, Annika           2.0   Claim File Review             Worked on POC76                                                  $195.00        $390.00
11/23/2020   Murray, Makeda           1.0   Data Gathering & Processing   BSA data work plan review, communication to team                 $475.00        $475.00
11/23/2020   Murray, Makeda           0.5   Project Management            Review BSA communications and file storage, update to            $475.00        $237.50
                                                                          optimize processes
11/23/2020   Murray, Makeda           0.2   Data Gathering & Processing   Troubleshoot BSA local council template macro issue              $475.00         $95.00
11/23/2020   Murray, Makeda           0.5   Data Gathering & Processing   BSA local council template macro                                 $475.00        $237.50
11/23/2020   Murray, Makeda           0.7   Data Gathering & Processing   POC review streamlining, priority-setting for review team        $475.00        $332.50
11/23/2020   Murray, Makeda           1.1   Data Gathering & Processing   Resolving local council ShareFile access, local council          $475.00        $522.50
                                                                          template macro updates
11/23/2020   Murray, Makeda           1.0   Data Gathering & Processing   Granting additional local council contacts ShareFile access      $475.00        $475.00
11/23/2020   Murray, Makeda           0.3   Data Gathering & Processing   Local council ShareFile access issues and updates                $475.00        $142.50
11/23/2020   Murray, Makeda           2.2   Data Gathering & Processing   Review local council feedback template updates and               $475.00      $1,045.00
                                                                          associated documents
11/23/2020   Reppert, Wesley          2.3   Data Gathering & Processing   Preparing feedback templates                                     $600.00      $1,380.00
11/23/2020   Scarpignato, Curtis      2.7   Claim File Review             Review POC files                                                 $195.00        $526.50
11/23/2020   Scarpignato, Curtis      1.0   Claim File Review             Continue reviewing POC files                                     $195.00        $195.00
11/23/2020   Scarpignato, Curtis      2.6   Claim File Review             POC review                                                       $195.00        $507.00
11/23/2020   Scarpignato, Curtis      1.3   Claim File Review             Cont'd POC review                                                $195.00        $253.50
11/23/2020   Scarpignato, Curtis      1.0   Claim File Review             Review POC files                                                 $195.00        $195.00
11/23/2020   Wang, Derrick            1.3   Data Gathering & Processing   Updating local council POC data processing                       $345.00        $448.50
11/23/2020   Wang, Derrick            1.9   Data Gathering & Processing   QC feedback template for local council POC data                  $345.00        $655.50
11/23/2020   Wang, Derrick            2.2   Data Gathering & Processing   Continuing to work on local council feedback template for        $345.00        $759.00
                                                                          POC data
11/23/2020   Wang, Derrick            2.0   Data Gathering & Processing   Working on local council feedback template for POC data          $345.00        $690.00
11/24/2020   Ameri, Armin             2.8   Data Gathering & Processing   Updating LC translations with new data                           $370.00      $1,036.00
11/24/2020   Ameri, Armin             2.3   Data Gathering & Processing   Continued QC of LC translation output                            $370.00        $851.00
11/24/2020   Evans, Andrew            0.3   Data Gathering & Processing   Review of available information on claims submission data        $725.00        $217.50
                                                                          and prep for call with Omni re same
11/24/2020   Evans, Andrew            0.8   Data Gathering & Processing   Call with Warner; Murray; and Omni team on signatory             $725.00        $580.00
                                                                          data fields and other questions
11/24/2020   Evans, Andrew            0.3   Project Management            Update to project team                                           $725.00        $217.50
11/24/2020   Evans, Andrew            0.4   Communication with            Call with Azer; Murray; Green                                    $725.00        $290.00
                                            Counsel
11/24/2020   Evans, Andrew            1.6   Data Gathering & Processing   Review of data and refinements to standardization plan;          $725.00      $1,160.00
                                                                          updates to list to share with mediation parties based on
                                                                          same
11/24/2020   Evans, Andrew            0.5   Data Gathering & Processing   Data standardization                                             $725.00        $362.50
11/24/2020   Evans, Andrew            1.8   Analysis                      Consideration of valuation and verification criteria; work       $725.00      $1,305.00
                                                                          plan related to same
11/24/2020   Farrell, Emma            2.3   Data Gathering & Processing   Draft script for reviewed POC data standardization               $345.00        $793.50
11/24/2020   Farrell, Emma            1.9   Analysis                      Prepare output files and refine scripts for current round of     $345.00        $655.50
                                                                          tabulations
11/24/2020   Farrell, Emma            0.9   Data Gathering & Processing   Refine law firm cleaning code for most recent Omni               $345.00        $310.50
                                                                          dataset
11/24/2020   Farrell, Emma            0.3   Data Gathering & Processing   Outline LC work stream for the next week                         $345.00        $103.50
11/24/2020   Farrell, Emma            2.4   Claim File Review             Reviewed workbook 56                                             $345.00        $828.00
11/24/2020   Farrell, Emma            1.2   Analysis                      Generate tabulations for most recent Omni dataset                $345.00        $414.00
11/24/2020   Farrell, Emma            1.6   Analysis                      Generate tabulations for most recent Omni dataset, contd.        $345.00        $552.00
11/24/2020   French, Eli              2.0   Claim File Review             Review Excel file 54                                             $195.00        $390.00




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  Date                                                                                                                                            Professional
                 Employee          Hours             Category                                          Notes                          Bill rate
incurred                                                                                                                                              fees
11/24/2020   French, Eli              1.9   Claim File Review             Excel file 54 review                                          $195.00        $370.50
11/24/2020   French, Eli              2.1   Claim File Review             Worked on excel file 77                                       $195.00        $409.50
11/24/2020   French, Eli              1.8   Claim File Review             Finished excel file 77                                        $195.00        $351.00
11/24/2020   French, Eli              0.2   Claim File Review             Reviewed Excel file 54- continued                             $195.00         $39.00
11/24/2020   Gelfand, Mike            1.9   Claim File Review             Claim file review                                             $195.00        $370.50
11/24/2020   Gelfand, Mike            2.0   Claim File Review             Review claims data files                                      $195.00        $390.00
11/24/2020   Gelfand, Mike            2.6   Claim File Review             Continued claim file review                                   $195.00        $507.00
11/24/2020   Gelfand, Mike            1.3   Claim File Review             Claim file review- cont'd                                     $195.00        $253.50
11/24/2020   Gelfand, Mike            0.2   Claim File Review             Spreadsheet review                                            $195.00         $39.00
11/24/2020   Johnson, Samantha        1.4   Claim File Review             POC coding                                                    $475.00        $665.00
11/24/2020   Johnson, Samantha        2.1   Claim File Review             Continue POC coding review                                    $475.00        $997.50
11/24/2020   Jones, Alyssa            3.0   Claim File Review             Formatting POC data                                           $195.00        $585.00
11/24/2020   Jones, Alyssa            2.8   Claim File Review             Reviewing POC data                                            $195.00        $546.00
11/24/2020   Jones, Alyssa            2.2   Claim File Review             Continued Review on POC data                                  $195.00        $429.00
11/24/2020   Jones, Alyssa            0.3   Claim File Review             Continued formatting of data                                  $195.00         $58.50
11/24/2020   Jones, Alyssa            0.5   Claim File Review             Review case updates, timelines                                $195.00         $97.50
11/24/2020   Linden, Annika           3.0   Claim File Review             Worked on POC76                                               $195.00        $585.00
11/24/2020   Linden, Annika           3.1   Claim File Review             Finished POC76                                                $195.00        $604.50
11/24/2020   Linden, Annika           0.5   Claim File Review             Review POC team progress, updates                             $195.00         $97.50
11/24/2020   Linden, Annika           2.5   Claim File Review             Started POC55                                                 $195.00        $487.50
11/24/2020   Murray, Makeda           0.5   Data Gathering & Processing   Review motion for historical settlements, communications      $475.00        $237.50
                                                                          re: various data requests
11/24/2020   Murray, Makeda           0.8   Data Gathering & Processing   Call with Omni re: claim signature and submission issues-     $475.00        $380.00
                                                                          Blacker, Warner, Nownes, Hume, Evans
11/24/2020   Murray, Makeda           0.6   Data Gathering & Processing   Local council template review and updates                     $475.00        $285.00
11/24/2020   Murray, Makeda           0.3   Data Gathering & Processing   BSA case up, next steps                                       $475.00        $142.50
11/24/2020   Murray, Makeda           2.0   Data Gathering & Processing   BSA local council template updates                            $475.00        $950.00
11/24/2020   Murray, Makeda           0.4   Data Gathering & Processing   Call with HaynesBoone re: data standardization- Azer,         $475.00        $190.00
                                                                          Green and Evans
11/24/2020   Murray, Makeda           0.9   Data Gathering & Processing   Review revised BSA local council documents, email to          $475.00        $427.50
                                                                          counsel re: same
11/24/2020   Murray, Makeda           0.9   Data Gathering & Processing   Prepare BSA data variable standardization and validation      $475.00        $427.50
                                                                          documents for mediation
11/24/2020   Murray, Makeda           1.3   Data Gathering & Processing   Prepare SOL translation table for counsel, draft              $475.00        $617.50
                                                                          communications for review
11/24/2020   Reppert, Wesley          2.9   Data Gathering & Processing   Preparing Excel feedback templates                            $600.00      $1,740.00
11/24/2020   Reppert, Wesley          0.3   Data Gathering & Processing   Review status of data work and case updates                   $600.00        $180.00
11/24/2020   Scarpignato, Curtis      3.0   Claim File Review             Review POC files                                              $195.00        $585.00
11/24/2020   Scarpignato, Curtis      0.3   Claim File Review             Continue reviewing POC files                                  $195.00         $58.50
11/24/2020   Scarpignato, Curtis      1.6   Claim File Review             Spreadsheet review                                            $195.00        $312.00
11/24/2020   Scarpignato, Curtis      1.1   Claim File Review             Spreadsheet review- cont'd                                    $195.00        $214.50
11/24/2020   Scarpignato, Curtis      0.7   Claim File Review             Claim file review                                             $195.00        $136.50
11/24/2020   Scarpignato, Curtis      0.2   Claim File Review             Continue claim file review                                    $195.00         $39.00
11/24/2020   Scarpignato, Curtis      1.2   Claim File Review             Claim file review- continued                                  $195.00        $234.00
11/24/2020   Shipp, Kory              0.5   Data Gathering & Processing   Review data work streams                                      $475.00        $237.50
11/24/2020   Shipp, Kory              1.0   Data Gathering & Processing   QC of Omni processing scripts                                 $475.00        $475.00
11/24/2020   Shipp, Kory              0.5   Data Gathering & Processing   Review local council files                                    $475.00        $237.50
11/24/2020   Wang, Derrick            0.4   Data Gathering & Processing   Reviewing local council POC data processing work              $345.00        $138.00
                                                                          streams




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  Date                                                                                                                                            Professional
                 Employee        Hours               Category                                        Notes                            Bill rate
incurred                                                                                                                                              fees
11/24/2020   Wang, Derrick          1.3   Data Gathering & Processing   QC local council feedback templates for POC data                $345.00        $448.50
11/24/2020   Wang, Derrick          2.4   Data Gathering & Processing   Updating local council POC data feedback templates              $345.00        $828.00
11/24/2020   Wang, Derrick          2.0   Data Gathering & Processing   Continuing to update local council POC data feedback            $345.00        $690.00
                                                                        templates
11/24/2020   Wang, Derrick          1.5   Data Gathering & Processing   Continuing to QC local council feedback templates for           $345.00        $517.50
                                                                        POC data
11/25/2020   Ameri, Armin           2.8   Data Gathering & Processing   Updating local council translation table                        $370.00      $1,036.00
11/25/2020   Ameri, Armin           2.0   Data Gathering & Processing   Continued work on local council translations                    $370.00        $740.00
11/25/2020   Evans, Andrew          0.2   Data Gathering & Processing   Follow-up on questions related to LDS-related claiming          $725.00        $145.00
                                                                        and ID of same
11/25/2020   Evans, Andrew          0.3   Data Gathering & Processing   Review of request from insurers and plan for responding to      $725.00        $217.50
                                                                        same
11/25/2020   Evans, Andrew          1.3   Analysis                      Consideration of key issues to address in potential             $725.00        $942.50
                                                                        valuation analysis
11/25/2020   Evans, Andrew          0.5   Communication with            Call with Andolina; Warner; Linder; and Murray on               $725.00        $362.50
                                          Counsel                       mediation materials
11/25/2020   Evans, Andrew          0.5   Data Gathering & Processing   Replies to follow-up inquiries on data                          $725.00        $362.50
11/25/2020   Evans, Andrew          0.3   Analysis                      Review of and input on potential SOL analysis                   $725.00        $217.50
11/25/2020   Evans, Andrew          2.1   Data Gathering & Processing   Review of Omni POC and refinements to work plan for             $725.00      $1,522.50
                                                                        standardization; updated field standardization list to
                                                                        counsel
11/25/2020   Evans, Andrew          0.3   Data Gathering & Processing   QC review of latest data extract work                           $725.00        $217.50
11/25/2020   Farrell, Emma          2.1   Analysis                      LDS claims analysis                                             $345.00        $724.50
11/25/2020   Farrell, Emma          2.7   Claim File Review             POC review- Excel file 56                                       $345.00        $931.50
11/25/2020   Farrell, Emma          0.8   Analysis                      Refine Reviewed POC processing scripts                          $345.00        $276.00
11/25/2020   Farrell, Emma          1.2   Analysis                      QC tabulations for most recent Omni download                    $345.00        $414.00
11/25/2020   Farrell, Emma          0.6   Analysis                      Format tabulations workbooks deliverable                        $345.00        $207.00
11/25/2020   Farrell, Emma          1.3   Analysis                      Write additional start year extraction code                     $345.00        $448.50
11/25/2020   French, Eli            2.2   Claim File Review             Claim file review                                               $195.00        $429.00
11/25/2020   French, Eli            1.7   Claim File Review             Claim file review- cont'd                                       $195.00        $331.50
11/25/2020   French, Eli            3.6   Claim File Review             Completed excel file 54                                         $195.00        $702.00
11/25/2020   Gelfand, Mike          1.4   Claim File Review             Review claim files                                              $195.00        $273.00
11/25/2020   Gelfand, Mike          1.0   Claim File Review             Review claim files- cont'd                                      $195.00        $195.00
11/25/2020   Gelfand, Mike          1.5   Claim File Review             Spreadsheet review                                              $195.00        $292.50
11/25/2020   Gelfand, Mike          1.8   Claim File Review             Continue spreadsheet review                                     $195.00        $351.00
11/25/2020   Gelfand, Mike          2.1   Claim File Review             Claim file review                                               $195.00        $409.50
11/25/2020   Gelfand, Mike          0.2   Claim File Review             Continued review of spreadsheets                                $195.00         $39.00
11/25/2020   Johnson, Samantha      2.0   Claim File Review             POC coding QC                                                   $475.00        $950.00
11/25/2020   Linden, Annika         3.0   Claim File Review             Worked on POC55 (missing information file)                      $195.00        $585.00
11/25/2020   Linden, Annika         3.0   Claim File Review             Worked on POC55 (missing information file)- contd               $195.00        $585.00
11/25/2020   Linden, Annika         2.2   Claim File Review             Continue review of POC55 (missing information file)             $195.00        $429.00
11/25/2020   Murray, Makeda         0.5   Data Gathering & Processing   LDS data work stream updates                                    $475.00        $237.50
11/25/2020   Murray, Makeda         1.0   Data Gathering & Processing   SOL translation review, email to counsel                        $475.00        $475.00
11/25/2020   Murray, Makeda         0.5   Data Gathering & Processing   Call re: data standardization and validation, other work        $475.00        $237.50
                                                                        streams- Azer, Andolina, Linder, and Evans
11/25/2020   Murray, Makeda         0.2   Data Gathering & Processing   Review data standardization and validation documents,           $475.00         $95.00
                                                                        communications with counsel
11/25/2020   Murray, Makeda         0.8   Data Gathering & Processing   LDS/local council work stream review, responses to              $475.00        $380.00
                                                                        insurer data requests
11/25/2020   Murray, Makeda         0.3   Data Gathering & Processing   Local council template updates, email to counsel re: troop-     $475.00        $142.50
                                                                        level information
11/25/2020   Murray, Makeda         0.4   Data Gathering & Processing   Review of outstanding data items in work plan, next steps       $475.00        $190.00




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  Date                                                                                                                                             Professional
                 Employee          Hours               Category                                        Notes                           Bill rate
incurred                                                                                                                                               fees
11/25/2020   Murray, Makeda           1.0   Data Gathering & Processing   ShareFile access permission updates, sending LC templates      $475.00        $475.00
                                                                          through ShareFile for counsel
11/25/2020   Murray, Makeda           0.2   Data Gathering & Processing   Local council template updates                                 $475.00         $95.00
11/25/2020   Murray, Makeda           2.3   Analysis                      Review BSA weekly tabulations workbooks, request code          $475.00      $1,092.50
                                                                          modifications and updates
11/25/2020   Murray, Makeda           0.6   Data Gathering & Processing   Review latest iteration of the local council feedback          $475.00        $285.00
                                                                          template
11/25/2020   Murray, Makeda           1.7   Analysis                      Review BSA weekly tabulations and preliminary processed        $475.00        $807.50
                                                                          data workbooks, send to interested parties
11/25/2020   Reppert, Wesley          1.8   Data Gathering & Processing   Updating feedback templates                                    $600.00      $1,080.00
11/25/2020   Scarpignato, Curtis      1.4   Claim File Review             Claim file review                                              $195.00        $273.00
11/25/2020   Scarpignato, Curtis      1.6   Claim File Review             Claim file review- cont'd                                      $195.00        $312.00
11/25/2020   Scarpignato, Curtis      1.1   Claim File Review             Claim file review- continued                                   $195.00        $214.50
11/25/2020   Scarpignato, Curtis      2.0   Claim File Review             Claim file review                                              $195.00        $390.00
11/25/2020   Scarpignato, Curtis      2.0   Claim File Review             Continue claim file review                                     $195.00        $390.00
11/25/2020   Shipp, Kory              0.5   Project Management            Review data work streams, timeline                             $475.00        $237.50
11/25/2020   Shipp, Kory              1.0   Data Gathering & Processing   Review data for LDS analysis expansion                         $475.00        $475.00
11/25/2020   Wang, Derrick            2.0   Data Gathering & Processing   Updating local council feedback templates for POC data         $345.00        $690.00
11/25/2020   Wang, Derrick            2.3   Data Gathering & Processing   Continuing to update local council feedback templates for      $345.00        $793.50
                                                                          POC data
11/25/2020   Wang, Derrick            1.7   Data Gathering & Processing   Continuing to QC local council feedback templates for          $345.00        $586.50
                                                                          POC data
11/25/2020   Wang, Derrick            1.2   Data Gathering & Processing   QC local council feedback templates for POC data               $345.00        $414.00
11/27/2020   Evans, Andrew            1.1   Data Gathering & Processing   Call with Andolina; Azer; Green; Murray; Linder;               $725.00        $797.50
                                                                          Schiavoni; and Ruggeri on data
11/27/2020   Evans, Andrew            0.2   Communication with            Call with Andolina; Azer; Green; Linder                        $725.00        $145.00
                                            Counsel
11/27/2020   Evans, Andrew            0.3   Data Gathering & Processing   Updates to data processing and next steps; related work on     $725.00        $217.50
                                                                          LC feedback template
11/27/2020   Evans, Andrew            0.4   Analysis                      Work with tabulations to inform upcoming mediation             $725.00        $290.00
                                                                          presentation
11/27/2020   Evans, Andrew            1.5   Analysis                      Work on draft mediation presentation; related tabulations      $725.00      $1,087.50
                                                                          and review of analysis
11/27/2020   French, Eli              1.2   Claim File Review             Spreadsheet review- Excel file 58                              $195.00        $234.00
11/27/2020   French, Eli              1.4   Claim File Review             Worked on excel file 58                                        $195.00        $273.00
11/27/2020   French, Eli              1.3   Claim File Review             Finished excel file 58                                         $195.00        $253.50
11/27/2020   French, Eli              0.6   Claim File Review             Started excel file 60                                          $195.00        $117.00
11/27/2020   Gelfand, Mike            2.0   Claim File Review             Excel sheet 80 review                                          $195.00        $390.00
11/27/2020   Murray, Makeda           0.5   Project Management            Review data work plan, outstanding items                       $475.00        $237.50
11/27/2020   Murray, Makeda           0.2   Data Gathering & Processing   Call re: mediation presentation prep- attended by Azer,        $475.00         $95.00
                                                                          Green, Andolina, Linder, and Evans
11/27/2020   Murray, Makeda           3.0   Fee Request Preparation       BSA October fee application                                    $475.00      $1,425.00
11/27/2020   Murray, Makeda           1.1   Data Gathering & Processing   Call with Ruggeri and Schiavoni- attended by Azer, Green,      $475.00        $522.50
                                                                          Andolina, Linder, Ruggeri, Schiavoni, and Evans
11/27/2020   Murray, Makeda           0.2   Project Management            Review mediation presentation work plan, project plan for      $475.00         $95.00
                                                                          coming week
11/27/2020   Murray, Makeda           1.3   Data Gathering & Processing   Local council template updates, uploading additional           $475.00        $617.50
                                                                          contacts to ShareFile
11/27/2020   Murray, Makeda           2.6   Fee Request Preparation       October 2020 fee application                                   $475.00      $1,235.00
11/27/2020   Murray, Makeda           1.8   Fee Request Preparation       BSA Oct 2020 fee application preparation                       $475.00        $855.00
11/27/2020   Murray, Makeda           1.1   Analysis                      Mediation presentation review                                  $475.00        $522.50
11/27/2020   Murray, Makeda           0.4   Data Gathering & Processing   Review processed 11/24 POC data                                $475.00        $190.00
11/28/2020   Evans, Andrew            0.3   Communication with            Call with Andolina re presentation plan                        $725.00        $217.50
                                            Counsel




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  Date                                                                                                                                              Professional
                 Employee          Hours               Category                                      Notes                              Bill rate
incurred                                                                                                                                                fees
11/28/2020   Evans, Andrew            1.4   Analysis                      Consideration of additional tabulations and points to           $725.00      $1,015.00
                                                                          potentially address in presentation
11/28/2020   Evans, Andrew            0.6   Communication with            Call with Andolina; Warner; Linder; Murray on mediation         $725.00        $435.00
                                            Counsel                       presentation tabulations and updates
11/28/2020   Evans, Andrew            1.1   Analysis                      Continued work on presentation and supporting analysis          $725.00        $797.50
11/28/2020   Evans, Andrew            0.2   Data Gathering & Processing   Updates to mediation field standardization list; sending        $725.00        $145.00
                                                                          new version to counsel
11/28/2020   Murray, Makeda           0.6   Communication with            Call with counsel to prep for mediation presentation-           $475.00        $285.00
                                            Counsel                       Andolina, Linder, Warner and Evans
11/28/2020   Murray, Makeda           0.9   Analysis                      Mediation presentation and tabulation updates                   $475.00        $427.50
11/29/2020   Evans, Andrew            0.8   Analysis                      Refinements to tabulations for presentation and circulation     $725.00        $580.00
                                                                          of updated tabulations per counsel request
11/29/2020   Evans, Andrew            1.5   Settlement Mediation &        Review of tabulations and data materials and related prep       $725.00      $1,087.50
                                            Support                       for Monday mediation presentation
11/29/2020   Jones, Alyssa            2.5   Claim File Review             Review POC data                                                 $195.00        $487.50
11/29/2020   Jones, Alyssa            2.0   Claim File Review             Continued Review of POC data                                    $195.00        $390.00
11/29/2020   Scarpignato, Curtis      1.0   Claim File Review             Review POC files                                                $195.00        $195.00
11/30/2020   Ameri, Armin             2.4   Data Gathering & Processing   Mapping council numbers to names in translation table           $370.00        $888.00
11/30/2020   Ameri, Armin             2.7   Data Gathering & Processing   Adding "previous iteration" flag to local council scripts       $370.00        $999.00
11/30/2020   Ameri, Armin             1.9   Data Gathering & Processing   Making local council translation adjustments                    $370.00        $703.00
11/30/2020   Evans, Andrew            0.4   Analysis                      Information to White and Case on sponsoring                     $725.00        $290.00
                                                                          organizations
11/30/2020   Evans, Andrew            0.4   Analysis                      Tabulations and analysis for follow-on requests from            $725.00        $290.00
                                                                          mediation parties
11/30/2020   Evans, Andrew            0.3   Data Gathering & Processing   Fielding tabulation requests from mediation parties             $725.00        $217.50
11/30/2020   Evans, Andrew            2.2   Settlement Mediation &        BSA mediation presentation on preliminary claims analysis       $725.00      $1,595.00
                                            Support
11/30/2020   Evans, Andrew            1.2   Settlement Mediation &        Review of materials and prep for mediation presentation         $725.00        $870.00
                                            Support
11/30/2020   Evans, Andrew            0.2   Communication with            Call with Andolina re next steps                                $725.00        $145.00
                                            Counsel
11/30/2020   Evans, Andrew            0.3   Data Gathering & Processing   Follow-up with counsel on code production request from          $725.00        $217.50
                                                                          Chubb
11/30/2020   Evans, Andrew            0.6   Data Gathering & Processing   Update on and input on claims standardization process           $725.00        $435.00
11/30/2020   Evans, Andrew            0.5   Data Gathering & Processing   Planning around data standardization work task                  $725.00        $362.50
                                                                          streamlining and processing speed
11/30/2020   Evans, Andrew            0.6   Analysis                      Follow-up Omni data tabulations and data requests               $725.00        $435.00
11/30/2020   Evans, Andrew            0.5   Analysis                      Consideration of addition potential valuation-related           $725.00        $362.50
                                                                          analyses
11/30/2020   Farrell, Emma            1.9   Analysis                      Streamline tabulation fields cleaning code                      $345.00        $655.50
11/30/2020   Farrell, Emma            1.3   Data Gathering & Processing   Append new reviewed POCs and update scripts for                 $345.00        $448.50
                                                                          additional field cleaning
11/30/2020   Farrell, Emma            0.3   Project Management            Consolidate inbound communications in subject-specific          $345.00        $103.50
                                                                          folders
11/30/2020   Farrell, Emma            0.6   Data Gathering & Processing   Determine next steps for data processing / analysis &           $345.00        $207.00
                                                                          tabulations
11/30/2020   Farrell, Emma            0.8   Analysis                      Impute end years where start years are available ; generate     $345.00        $276.00
                                                                          imputation flag and calculated duration fields
11/30/2020   Farrell, Emma            1.3   Analysis                      Add year/duration and year/allegation tabulations code to       $345.00        $448.50
                                                                          tabulations script; run script to generate tabulations
11/30/2020   Farrell, Emma            1.6   Analysis                      Generate LDS local council translation table & merge with       $345.00        $552.00
                                                                          current Omni data
11/30/2020   Farrell, Emma            0.8   Analysis                      Generate communications list for LDS-identified claims          $345.00        $276.00
11/30/2020   Farrell, Emma            0.7   Analysis                      Produce graphs for additional tabulations ; format              $345.00        $241.50
                                                                          additional tabulations worksheets
11/30/2020   Farrell, Emma            0.4   Analysis                      Produce output files for LDS local council merge                $345.00        $138.00
11/30/2020   Farrell, Emma            0.6   Analysis                      Produce and format additional tabulations                       $345.00        $207.00




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  Date                                                                                                                                             Professional
                 Employee          Hours                Category                                       Notes                           Bill rate
incurred                                                                                                                                               fees
11/30/2020   Farrell, Emma             1.7   Analysis                      Generate additional duration tabulations for imputed-end-     $345.00        $586.50
                                                                           year groups
11/30/2020   French, Eli               1.8   Claim File Review             Excel spreadsheet 60 review                                   $195.00        $351.00
11/30/2020   French, Eli               2.1   Claim File Review             Completed excel spreadsheet 60                                $195.00        $409.50
11/30/2020   French, Eli               1.7   Claim File Review             Reviewed excel file 84                                        $195.00        $331.50
11/30/2020   French, Eli               2.2   Claim File Review             POC review- Excel file 84                                     $195.00        $429.00
11/30/2020   French, Eli               0.2   Claim File Review             Reviewed excel file 84- continued                             $195.00         $39.00
11/30/2020   Gelfand, Mike             1.7   Claim File Review             Worked on spreadsheet review                                  $195.00        $331.50
11/30/2020   Gelfand, Mike             2.2   Claim File Review             Review POC data files                                         $195.00        $429.00
11/30/2020   Gelfand, Mike             1.4   Claim File Review             Claim file review                                             $195.00        $273.00
11/30/2020   Gelfand, Mike             2.5   Claim File Review             Review of claims data files                                   $195.00        $487.50
11/30/2020   Gelfand, Mike             0.2   Claim File Review             Continued claim file review                                   $195.00         $39.00
11/30/2020   Johnson, Samantha         1.8   Claim File Review             Review of progress and streamlining options for data          $475.00        $855.00
                                                                           standardization requests
11/30/2020   Linden, Annika            1.0   Claim File Review             Finished POC55 (missing info)                                 $195.00        $195.00
11/30/2020   Linden, Annika            3.0   Claim File Review             Started POC82                                                 $195.00        $585.00
11/30/2020   Linden, Annika            3.0   Claim File Review             Worked on POC82                                               $195.00        $585.00
11/30/2020   Linden, Annika            2.5   Claim File Review             Worked on Excel file POC82                                    $195.00        $487.50
11/30/2020   Murray, Makeda            0.5   Analysis                      BSA mediation presentation prep                               $475.00        $237.50
11/30/2020   Murray, Makeda            2.2   Settlement Mediation &        BSA mediation presentation                                    $475.00      $1,045.00
                                             Support
11/30/2020   Murray, Makeda            1.1   Data Gathering & Processing   Local council ShareFile requests, process updates             $475.00        $522.50
11/30/2020   Murray, Makeda            0.3   Analysis                      BSA data review, produce additional slides to mediation       $475.00        $142.50
                                                                           parties
11/30/2020   Murray, Makeda            0.6   Data Gathering & Processing   BSA data update, next steps to team                           $475.00        $285.00
11/30/2020   Murray, Makeda            1.2   Fee Request Preparation       October fee application                                       $475.00        $570.00
11/30/2020   Murray, Makeda            0.6   Data Gathering & Processing   BSA POC data review, process streamlining                     $475.00        $285.00
11/30/2020   Murray, Makeda            1.5   Fee Request Preparation       October 2020 fee application prep                             $475.00        $712.50
11/30/2020   Murray, Makeda            0.3   Data Gathering & Processing   Providing direction to the team re: POC review                $475.00        $142.50
                                                                           streamlining, data processing updates
11/30/2020   Murray, Makeda            0.4   Data Gathering & Processing   LDS claims identification                                     $475.00        $190.00
11/30/2020   Murray, Makeda            0.3   Fee Request Preparation       Submission for the fee examiner (October 2020)                $475.00        $142.50
11/30/2020   Murray, Makeda            1.5   Analysis                      Review additional tabulations prepared based on mediation     $475.00        $712.50
                                                                           feedback/requests
11/30/2020   Scarpignato, Curtis       1.6   Claim File Review             POC file review                                               $195.00        $312.00
11/30/2020   Scarpignato, Curtis       1.4   Claim File Review             Continue reviewing POC files                                  $195.00        $273.00
11/30/2020   Scarpignato, Curtis       1.5   Claim File Review             Spreadsheet review                                            $195.00        $292.50
11/30/2020   Scarpignato, Curtis       1.5   Claim File Review             Spreadsheet review- continued                                 $195.00        $292.50
11/30/2020   Scarpignato, Curtis       2.5   Claim File Review             POC file review                                               $195.00        $487.50
11/30/2020   Scarpignato, Curtis       1.0   Claim File Review             POC file review- cont'd                                       $195.00        $195.00
11/30/2020   Scarpignato, Curtis       1.0   Claim File Review             Review POC files                                              $195.00        $195.00
11/30/2020   Wang, Derrick             0.4   Data Gathering & Processing   Reviewing work streams for processing POC data                $345.00        $138.00
11/30/2020   Wang, Derrick             1.3   Data Gathering & Processing   Continuing to prepare reviewed POC data for tabulations       $345.00        $448.50
11/30/2020   Wang, Derrick             2.1   Data Gathering & Processing   Preparing reviewed POC data for tabulations                   $345.00        $724.50
11/30/2020   Wang, Derrick             1.6   Data Gathering & Processing   Processing POC data by local council                          $345.00        $552.00
11/30/2020   Wang, Derrick             1.1   Data Gathering & Processing   Standardizing reviewed POC data fields                        $345.00        $379.50
 TOTAL                             1,580.1                                                                                                          $489,663.00




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